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                              EXHIBIT 21




                              EXHIBIT 21


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                                       ID #:708




   SUPREME COURT OF THE STATE OF NEW YORK
   COUNTY OF NEW YORK: PART 7
                                                                  X

   AMY WEISSBROD-GURVEY,                                               NOTICE OF ENTRY

                                                  Plaintiff,           Index No. 100163/15

                           - agarnst -



   STATE OF NEW YORK, CITY OF NEW YORK,
   APPELLATE DIVISION FTRST DEPT., APPELLATE
   DIVISION FIRST DEPT. DISCIPLINARY
   COMMITTEE ('.DDC"), NYCATS ETHICS BOARDS
   FOR ATTORNEY DISCIPLINE, NYS COMMISSION
   oN JUDICIAL CONDUCT (..COMMISSION"), NyS
   OFFICE OF COURT ADMINISTRATION (.,OCA"),
   HON(S). JONATHAN LIPPMAN, LUIS GONZALEZ,
   ROBERT TEMBECzuIAN, THOMAS CAHILL, ALAN
   FRIEDBERG, HAL LIEBERMAN, RICHARD SUPPPLE,
   MARY JO HAMILTION, JAMES T. SHED, JORGE
   DOPICO, NAOMI GOLDSTEIN, SHERRY COHEN,
   HALLIBURTON FALES, RAYMON VALLEJO,
   ORLANDO REYES, DDC HEARING PANEL IV), AND
   DOES I-X TNCLUSIVE, HINSHAW CULBERTSON,
   LLC, and HON. GAIL PRUDENTI, CHIEF COUNSEL
   OF THE NYS OFFICE OF COURT ADMINISTRATION,

                                                 Defendants.

                                                               ----x


     PLEASE TAKE NOTICE that the within is a true and correct copy of a Decision and Order in

  the above captioned matter, dated March 21st,2017, and duly entered in the office of the County




                                                                                   EXHIBIT 21
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                                      ID #:709



   Clerk of the Supreme Court of the State of New York, County of New York, on May 31,2017.

   Dated: New York, New York
          June 9,2017

                                                         ERIC T. SCHNEIDERMAN
                                                         Attorney General of the
                                                         State of New York




                                                         By: MIC H            BERG
                                                         Assistant           General
                                                         I 20 Broadw ay, 24th Floor
                                                         New York, New York 10271
                                                         (212) 416-86s 1


   To: AMY WEISSBROD.GURVEY
       315 Highland Avenue
       Upper Montclair, NJ 07043
       amvweissbrod (rDverizon.net
       Plaintiff Pro Se

       MARIAN C. RICEAIICOLE FEDER
       L'Abbate, Balkan, Colavita & Contini, L.L.P.
       1001 Franklin Avenue
       Garden City, NY 11530
       nfeder@lbcclaw.com
       Counsel for Defendants Richard Supple.
       Hal Lieberman. and Hinshaw & Culbertson

        LESLEY BERSON MBAYE, ESQ.
       Senior Counsel
       New York City Law Department
        100 Church Street, Room 2-306
       New York, New York 10007
       lmbaye(rDlaw.nyc.eov
       Counsel for Defendant City of New York




                                                                               EXHIBIT 21
                                                                           Page 311 of 808
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                                                             ID #:710

     ,lE, SUPREME COURT OF THE STATE OF NEW YORK
                                                        NEWYORK COUNTY
                                     O{ON. GERALE LEBOVIT$
           PRESENT:                                   .r.S.q                                              PART
                                                                          Justlce
                    lndex Number : 100163/2015
                    WEISSBROD-GURVEY, AMY                                                                 txDEx ilo.
                    vs.
                    STATE OF NEW YORK
                                                                                                          MOTTOI DATE_
                    SEQUENCE NUMBER:017                                                                   monofl sEQ. ilo. _
                  PRELIMINARY INJUNCTION

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        SUPREME COLTRT OF                                             OF NEW YORK
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        AMY WEISSBROD.GURVEY
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                                                           ID #:712



                               HON. GERALD LEBOVITS
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 g 3)   ltl Prrtrnt i  -<-?.Fi...   ..
                                                                  rlr9,9,

     \E                                                            ---x
     ,,(: .l'fAMY WEISSBROD-GURVEY,                                         At an I.A.S. Trial Term, Part 7, of thc Supreme
QL                                                                          Court of the State of New York, held in and for
                                                                            the County of New York, located at I I I Centre
                                         Plaintiff,                         Street, Borough of Mp4hattan, New York, New
                                                                            York 10013, on the)lffay ot A\20t7
                            - against -

           STATE OF NEW YORK, CITY OF NEW YORK,
           APPELLATE DIVISION FIRST DEPT.,
           APPELLATE DIVISION FIRST DEPT.                                                Index No. 100163-15
           DISCPLINARY COMMIT'rEE ("DDC"),
           NYCNYS ETHICS BOARDS FOR ATTORNEY
           DISCIPLTNE, NYS COMMISSION ON
           JUDICIAL CONDUCT ("COMMISSION"), NYS                                                  ORDER
           OFFICE OF COURT ADMINISTRATION
           ("ocA"), HoN(s). JoNATHAN LIPPMAN, LUN
           CONZALEZ, ROBERT TEMBECKJIAN,
           THOMAS CAHILL, ALAN FzuEDBERG, HAL
           LIEBERMAN, zuCHARD SUPPLE, MARY JO                                               Mot. Seq. No. 17
           HAMILTON, JAMES T, SHED, JORGE DO
           PICO, NAOMI GOLDSTETN, SHERRY COHEN,
           HALLIBURTON FALES, RAYMOND VALLEJO,
           ORLANDO REYES, DDC HEARING PANEL IV,
                                                                              FILED
           AND DOES I-X, INCLUSIVE, HINSHAW &
                                                                            , MAY3I2ol7
                                                                            ffi
           CULBERTSON, LLC, AND I{ON. GAIL
           PRUDENTI, CHIEF COUNSEL OF THE NYS
           OFFICE OF COURT ADMINISTRATION,

                                     Defendants.
                                                                     X

                  UPON THE MOTION for a filing injunction filed on February 16,2017 by defendants

           the State of New York, the Supreme Court of the State of New.York, Appellate Division, First

           Department, the Departmental Disciplinary Committee of the Appellate Division, First

           Department, the New York State Commission on Judicial Conduct, Jorge Dopico, Naomi F.

           Goldstein, Raymond Vallejo, Orlando Reyes, and Alan W. FriedberBi and

                  THE COURT HAVING READ the following papers (Nos. 1-2) on the Motion:


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                                                                                                       MAY S 1 2017

                                                                                                   '' SUPREME COURT' CIVIL
                                                                                                   NYS
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                                                                                                        EXHIBIT 21
                                                                                                    Page 314 of 808
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                                         ID #:713




            r)     Notice of State Defendants' and State Aftomeys' Motion for a Filing lnjunction
                    d-u.tzrl Ft,g 2Jt 2/D r?
            2)     Affirmation of Michael A. Berg in Support of State Defendants' and State

                   Attorneys' Motion for a Filing Injunction;   ;" d'*17 af,filvFul "n &1 4, 2o2., ,*,(
            PLAINTIFF NOT HAVING filed any papers in opposition or response to the motion;

    and
                                                                                    /
            THE COURT HAVING GRANTED the motion by memorandum decision dated
           /'
    March 21,2017 (a copy of which is attached hereto); and

            THE COURT HAVING GRANTED, by short-form order dated January 17,2017,

    identical relief upon the motion of defendants the Hon. Jonathan Lippman, the Hon. Luis

     Gonzalez,the Hon. A. Gail Prudenti, Sherry Cohen, James T. Shed, Thomas Cahill, Robert

    Tembeckiian, and Sarah Josephine ]{amilton (sued herein as "Mary Jo Hamilton")             , ? , .r
            I:y__*fll       'r.o lron of                                              tur Jltt
                                         h,aha,rl *,3 erl. Asri. Atlo^,.r, C"''.r..J, ^1ar^t7
            IT IS HEREBY ORDERED that:                     "                                      ^ef'^d^4r,

          . Plaintiff Amy Weissbrod-Gurvey, also known as Amy Gurvey and Amy Weissbrod, is
    hereby pennanently enjoined from filing any new actions, claims or proceedings against the

    following defendants without obtaining prior wriuen leave of the Administrative Judge of the

     Supreme Court, Civil Branch, New York County: (l) the State.of New York; (2) the Supreme

     Court of the State of New York, Appellate Division, First Department; (3) the Departmental

    Disciplinary Committee of the Appellate Division, First Department; (4) the New York State

    Commission on Judicial Conduct; (5) Jorge Dopico; (6) Naomi F. Goldstein; (7) Raymond

    Vallejo; (8) Orlando Reyes; (9) Alan W. Friedberg; (10) the Hon. Jonathan Lippman; (l l) the

    Hon. Luis Gor:zalez;(12) the Hon. A. Gail Prudenti; (13) Sherry Cohen; (14) James T. Shed;

    (15) Thomas Cahill; (16) Robert Tembeckjian; and (17) Sarah Josephine Hamilton (sued herein

    as "Mary Jo Hamilton")., a.-n   ol    ,   /   ,i    f n^-H', e,




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            (9 K0 ?-tt-E,r>    )\*       ,

           The Clerk of this Court is directed to accept no further filings from or on behalf of

    Plaintiffagainst the Defendants listed above without prior authorization of the Administrative

    Judge of the Supreme Court, Civil Branch, New York County.




                                         E".lc f ;

                                                          Hon.         Lebovits, J.S.C.


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                                                                 Clerk of the Court




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                         t.      +   r                                      .,   ',

                         SUPREME COURT OF THE STATE OF NEW YONK
     'iilt,'
       l'i
                                    NEWYORK COUNTY
                                         F!ON. GERALD LEBOVIT$
              PRESENT:
                                                                           J.S.C.                       PART
                                                                               Justlce
                       lndex Number : 100163/2015
                       WEISSBROD-GURVEY, AMY                                                            INDEX HO.

                       VS.
                                                                                                        I'ONON      DATE-
                       STATE OF NEW YORK
                       SEOUENCE NUMBER :017                                                             HOTTOH SEQ. ilO.   _
                       PRELIMINARY INJUNCTION

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              The followlng papcru, numbertd      1lo ?   , wcro read on thla motlon to/for

              Notlce of Motlon/Order to Show Cause
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                                              ID #:716
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     STATEOFNEWYORK )
                    : SS.:
     cor.JNTY OF NEW YORK )

                         MICHAEL A. BERG, being duly sworn, deposes and says:

             That he is an Assistant Attorney General in the office of the Attorney General of the State of New

     York, attorney for defendants the State of New York, the Supreme Court of the State of New York,

     Appellate Division, First Department, the Departmental Disciplinary Committee, the New York State

     Commission on Judicial Conduct, Jorge Dopico, Naomi F. Goldstein, Raymond Vallejo, Orlando Reyes,

     Alan W. Friedberg, the Hon. Jonathan Lippman, Luis Gonzaleland A. Gail Prudenti; Sherry Cohen,

     James T. Shed, Thomas Cahill, Robert Tembeckjian, and Sarah Josephine Hamilton (sued herein as

     "Mary Jo Hamilton") and that on the 28th of April 2017,he served the annexed Notice of Settlement and

     proposed Order upon the following named persons:

     Amy Weissbrod-Gurvey, Esq                         Marian Rice, Esq.
     315 Highland Avenue                               Nicole Feder, Esq.
     Upper Montclair, NJ 07043                         L'Abbate, Balkan, Colavita & Contini, L.L.P.
     (973) 6ss-09e1                                    l00l Franklin Avenue
     amyyeissbrod@verizo.n. net                        Garden City, NY I1530
     Plaintiff Pro Se                                  (st6) 294-8844
                                                       nfeder@lbcclaw.com
                                                       Counsel/or Defendant J. Richard Supple
                                                       Hal R. Lieberman, and Hinshaw & Culbertson, LLC

     Lesley Berson Mbaye, Esq.                         Shawn Kerby, Esq.
     New York City Law Department                      Office of Court Administration
     100 Church Street, Room 2-306                     25 Beaver Street, l lth Floor
     New York,I\ry 10007                               NewYork,NY 10004
     (212)356,0897                                     (212) 428-2ts0
     lmbaye@law.nyc.gov                                skerbv(Envcourts.sov
     Counselfor Defendant City of New York             C ouns el for OCA Defendants


     by U,S. Mail by depositing a true and conect copy thereof, properly enclosed in a post-paid regular mail

     wrapper, in a post-ofliee box regularly maintained at lz}Broadway, New York, New York 10271

     directed to said persons at the addresses within the State designated    them for



     Sworn to before me this
     28th day of                          A
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                    'i
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        MichaelJ
     Assistant Attorney




                                                                                                  EXHIBIT 21
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     SUPREME COURT OF THE STATE OF NEW YORK
     COUNTY OF NEW YORK
                                                         X
     AMY WEISSBROD.GURVEY,

                           Plaintiffl

                   - against -                                              Index No. 100163-15

     STATE OF NEW YORK, CITY OF NEW YORK,
     APPELLATE DIVISION FIRST DEPT.,
     APPELLATE DIVISION FIRST DEPT.                                    NOTICE OF SETTLEMENT
     DISCIPLINARY COMMITTEE ("DDC"),
     NYC/NYS ETHICS BOARDS FOR ATTORNEY                                 Hon. Gerald Lebovits, J.S.C.
     DISCPLINE, NYS COMMISSION ON
     JUDICIAL CONDUCT ("COMMISSION"), NYS
     OFFICE OF COURT ADMINISTRATION
     ("ocA"), HoN(s). JONATHAN LIPPMAN, LUIS
     GONZALEZ, ROBERT TEMBECKJIAN,
     THOMAS CAHILL, ALAN FRIEDBERG, HAL
     LIEBERMAN, zuCHARD SUPPLE, MARY JO
     HAMILTON, JAMES T. SHED, JORGE DO
                                                                       FI LED
     PICO, NAOMI GOLDSTEIN, SHERRY COHEN,
     HALLIBURTON FALES, RAYMOND VALLEJO,                               MAY 3   I 20f,r
     ORLANDO REYES, DDC HEARING PANEL IV,
     AND DOES I.X, INCLUSIVE, HINSHAW &                          7't
     CULBERTSON, LLC, AND HON. GAIL
     PRUDENTI, CHIEF COUNSEL OF THE NYS
     OFFICE OF COURT ADMINISTRATION,

                           Defendants.
                                                         X

            PLEASE TAKE NOTICE, that the within ORDER will be presented for settlement and

     signature herein to the Hon. Gerald Lebovits, one of the Judges of the within named Court, at the

     Courthouse, l l l Centre Street, in the Borough of Manhattan, City of New York, on the 8th day

     of May, 2017 at9:30 a.m.




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                                          ID #:718




     DATED:       New York, New York
                   April28,2017




                                                   ERIC T. SCHNEIDERMAN
                                                   Attorney General of the State of New York



                                                   By:
                                                   Michael A,
                                                   Assistant Attorney General
                                                   120 Broadway,24th floor
                                                   New York, New York 10271
                                                   Tel: (212) 416-8651
                                                   Fax: (212) 416-6009
                                                   michael.berq@ag.n),. gov




     TO:
     Amy Weissbrod-Curvey, Esg.                    Marian Rice, Esq.
     315 Highland Avenue                           Nicole Feder, Esq.
     Upper Montclair, NJ 07043                     L'Abbate, Balkan, Colavita & Contini
     (e73) 6ss-0991                                1001 Franklin Avenue
     amvwei ssbrod[Everi zon. net                  Garden City, NY 11530
     Plaintiff Pr;o Se                             (st6) 294-8844
                                                   (sl6) 294-8202 (tax)
                                                   nfeder@lbcclaw.com
                                                   Counsel for Defendants J. Richard Supple,
                                                   Hal R. Lieberman, and Hinshaw &
                                                   Culbertson, LLC

     Lesley Berson Mbaye, Esq.                     Shawn Kerby, Esq.
     Senior Counsel                                Office of Court Administration
     New York City Law Department                  25 Beaver Street, I lth Floor
     100 Church Street, Room 2-306                 New York, NY 10004
     New York, N.Y. 10007                          (212) 428-2ts0
     (2t2) 3s6-0897                                skerbv@nycourts,eov
     (2t2) 788.3770 (fax)                          Couns el for OCA Defendants
     l_lnbaye@laW.nyc.eov
     Counselfor Defendant City of New York




                                                                                   EXHIBIT 21
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             SUPREME COURT OF THE STATE OF NEW YORK
             COI.JNTY OF NEW YORK:                                              Index No.:100163-15


             AMY WEISSBROD-GURVEY,
                                                                PlaintitT,

                                     -against-

             STATE OF NEW YORK, CITY OF NEW YORK, APPELLATE DTVISION FIRST DEPT.,
             APPELLATE DTVISION FIRST DEPT. DISCPLTNARY COMMITTEE ("DDC"), NyC/bryS
             ETHICS BOARDS FOR ATTORNEY DISCIPLINE, NYS COMMISSION ON JUDICIAL
             CoNDUCT ('COMMISSION"), NYS OFFICE OF COURT ADMINTSTRATION ("OCA'),
             HON(S) JONATHAN LIPPMAN, LUrS GONZALEZ, ROBERT TEMBECKJIAN, THOMAS
             CAHILL, ALAN FRIEDBERG, HAL LIEBERMAN, RICHARD STIPPPLE, MARY JO
             HAMILTION, JAMES T. SHED, JORGE DO PTCO, NAOMI GOLDSTEIN, SHERRY
             COTIEN, }IALLIBURTON FALES, RAYMON D. VALLEJO, ORTANDO REYES, DDC
             HEARING PANEL TV, AND DOES I-X INCLUSTVE, HINSHAW CLILBERTSON, LLC, ANd
             HON. GAIL PRUDENTI, CHIEF COTINSEL OF THE NYS OFFICE OF COURT
             ADMINISTRATION,

                                                                Defendants.




                                     NOTICE OF SETTLEMENT




                                       ERIC T. SCHNEIDERMAN                                  J

                                Attorney General of the State of New York                J
                       ATTORNEY FOR STATE DEFENDANTS AND STATE ATTORNEYS
                                          By: Michael A. Berg
                                       Assistant Attomey General
                                        120 Broadway, 24th Floor
                                      New York, New York 10271
                                        Tel. No.: (212) 4tfi865l
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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------X
                                                             :              07/06/2017
 AMY R. GURVEY,                                              :
                                              Plaintiff, :
                                                             :    06 Civ. 1202 (LGS)
                            -against-                        :
                                                             :   OPINION AND ORDER
 COWAN, LIEBOWITZ & LATMAN, P.C., et :
 al.,                                                        :
                                              Defendants. :
 ------------------------------------------------------------X

 LORNA G. SCHOFIELD, District Judge:

         Plaintiff Amy R. Gurvey commenced this action against Defendants William Borchard,

 Midge Hyman, Baila Celedonia, Christopher Jensen, all attorneys at the firm of Cowan

 Liebowitz & Latman, P.C. (“Cowan” or “the Firm”), which is also a defendant (together,

 “Defendants”) and others. Defendants move for summary judgment on the remaining claims of

 attorney malpractice and breach of fiduciary duty. Plaintiff cross-moves for summary judgment

 as to a number of claims that are not pending in this case. Insofar as Plaintiff’s claims have not

 been dismissed previously, Plaintiff’s cross-motion is construed as a motion to amend the

 pleadings and is denied as both untimely and futile. Terry v. Inc. Vill. of Patchogue, 826 F.3d

 631, 633 (2d Cir. 2016). For the reasons below, Defendants’ motion is granted.

 I.      BACKGROUND

         Unless noted, the facts below are undisputed and drawn from the parties’ Rule 56.1

 Statements and other submissions on this motion, and are construed in Plaintiff’s favor. See

 Wright v. N.Y. State Dep’t of Corr., 831 F.3d 64, 71–72 (2d Cir. 2016). Given the long history of

 this litigation, only the facts relevant to the adjudication of this motion are discussed.




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         On December 6, 2001, Cowan sent Plaintiff a “letter of intent” confirming its offer of

 employment to Plaintiff, subject to finalizing the terms of the employment agreement. Around

 this time, Plaintiff was working on a venture that she called “ConcertMaster and Electronic

 Ticketing” -- a “ticketing and e-ticketing method[] on mobile devices . . . to enable distribution

 of live recordings and event merchandise.” Plaintiff had described her venture “in general”

 during her interview with the Firm. She later, in a May 2002 email to a third party unrelated to

 Cowan, described her business idea: “The patent will allow ticket buyers to get a SmartCard or

 small CD in lieu of a cardboard ticket if they pay a premium over the ticket price, let’s say $10.

 Within a certain number of hours after [sic] performance, the premium payer can will then [sic]

 be able to insert the disk into a computer and download an encryped [sic] DVD of the concert

 attended . . . .”

         The Third Amended Complaint (the “Complaint”) asserts that from January 2002,

 Plaintiff was Cowan’s client, and Plaintiff testified that she “may have assumed that Cowan were

 [her] lawyers” at that time. On February 1, 2002, Plaintiff joined Cowan as “of counsel,” under

 a one-year employment agreement, dated January 15, 2002. The only evidence of the parties’

 relationship from early 2002 is the employment agreement, which acknowledges Plaintiff’s

 ownership of the e-ticketing venture, but makes no mention of any attorney-client relationship in

 connection with that project or any other matter.

         Plaintiff presented her venture at a Firm meeting shortly after she joined in early 2002, at

 the request of Cowan attorney William Borchard. In her deposition, Plaintiff testified that

 Borchard told her that the purpose of her presentation was to inform “of-counsels who were part-

 time” “of the nature of [her] inventions and [her] practice . . . to find out if some of them could

 send [her] billings to do for their other clients.” Plaintiff also testified that she provided



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 handouts at the meeting, and that she did not remember whether those handouts were marked

 “confidential” or whether she informed the attendees that her invention was confidential. She

 did not ask for the handouts to be returned to her.

        In March or April 2002, Plaintiff claims to have attended a Firm event at which she met

 Michael Gordon of the band Phish and “w[as] shocked to discover how much [he] knew of

 plaintiff’s confidential business plans and technology.” Plaintiff believed that Gordon’s then-

 girlfriend, Cowan associate Susan Schick, disclosed Plaintiff’s confidential information, or that

 “[Gordon] may have been at the [February] meeting.” Plaintiff testified that, at the time of the

 Firm event where she met Gordon, “Cowan had not done any filing for [her],” and “Cowan had

 not done anything yet.”

        The Firm terminated Plaintiff’s employment on or around May 7, 2002. Beginning on

 May 10, 2002, while planning for Plaintiff’s departure, the Firm agreed to help Plaintiff prepare

 and file with the United States Patent and Trademark Office (“USPTO”) a provisional patent

 application (“PPA”) for her electronic ticketing venture. In a May 10, 2002, email from Plaintiff

 to Borchard and Cowan attorney Christopher Jensen, Plaintiff stated:

        Coincidentally (and without any request on my part), Mark Montague came into
        my office yesterday and said he would like to file the provisional patent for my
        concert idea. Since my discussing this patent and the business model during my
        first firm meeting, a few of the associates have asked me if they could work on it.
        I have deferred answering them. Time has now become of the essence . . . . For
        expediency purposes, I am willing to pay for Mark’s time and legal fees. . . . If it
        is better if all my projects and clients are handled separately, please so advise, and
        I will retain outside counsel. I told Mark that I would love him to do the work but
        under no circumstances could he do anything without getting your permission.

 Later the same day, Jensen authorized Cowan attorney Mark Montague to file the PPA on

 Plaintiff’s behalf and said, “[w]e should just keep track of our time for now and then we will

 figure out later with Amy how we are going to get paid.”



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        On May 22, 2002, after Plaintiff’s employment was terminated but before she had

 vacated her office at the Firm, Montague filed a PPA on Plaintiff’s behalf, entitled “Premium

 Performance Ticket.” On May 24, 2002, Cowan attorney Lewis Gable filed a second PPA that

 was substantially similar to, but more expansive than, the first PPA and intended to supersede the

 first PPA. Defendants assert that they did not perform any legal work for Plaintiff after Gable

 filed the second PPA, and Plaintiff has not presented contrary evidence.

        In June 2002 (after Plaintiff was fired, but still before she had vacated her office, which

 occurred in September), Cowan attorney Midge Hyman told Plaintiff that “the firm would not

 send [her] work under any circumstances” or “allow [her] to work on [her] patent or . . . use any

 of the firm’s other patent attorneys to assist [her].” In October 2002, Plaintiff sent an email to

 Borchard and Jensen requesting that her files be sent to her, and thereafter, that “all of [her] files

 . . . be burned and destroyed” and a “Certificate of Destruction [be] signed by the firm.”

        In December 2002, Plaintiff had a telephone conversation with Jensen in which, Jensen

 asserts, Plaintiff threatened to sue the Firm. The next day, Plaintiff sent an email to Jensen and

 Borchard, in which she sought payment for her services and threatened to “pursue vigorously”

 the “misappropriation of any my [sic] trade secrets and patent (filed by the firm).” In response,

 Jensen instructed Plaintiff not to email him again. According to Defendants, Plaintiff’s “threat of

 litigation” created a conflict of interest, which prompted them to withdraw formally as her

 representative before the USPTO, which they did by filing a request for withdrawal on January

 3, 2003. The request for withdrawal stated as the reason for the request that “[a] conflict of

 interest has arisen between the applicant [Plaintiff] and the law firm [Defendants].” The record

 includes a January 3, 2003, letter from Defendants to Plaintiff advising her, “Since a potential

 conflict of interest has arisen between you and Cowan, Liebowitz & Latman, P.C., we are



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 ethically obligated to withdraw as legal counsel to you in the above-referenced patent matter.”

 On February 13, 2003, the USPTO accepted the request, which Plaintiff alleges in the Complaint

 that she learned of on February 16, 2003.

        In April 2003, Plaintiff communicated with Schick and claimed not to know the source of

 the Firm’s conflict of interest. Jensen, after learning about this communication replied, “As we

 previously informed you, we can not [sic] represent you in connection with your provisional

 patent applications because of your threats of legal action against this firm.”

        On May 5, 2003, the New York Times published an article that Plaintiff describes as

 “announcing and introducing [Clear Channel Communications, Inc.’s (“Clear Channel”)] newest

 venture,” and describing “Plaintiff’s entire confidential business models for the onsite

 distribution of live recordings at concerts.” The article reported that Clear Channel would begin

 selling compact discs of live recordings of concerts at Clear Channel venues “within five minutes

 of a show’s conclusion,” and that Clear Channel described the venture as “a continuation of the

 trend among various bands and start-ups in recent years to sell authorized recordings that are

 available on CD or as Internet downloads soon after the event.” The article quoted various

 people in the music industry, including Phish’s manager, John Paluska. “Although [Phish’s]

 experience is not a direct comparison,” he illustrated the potential growth of the instant disc

 market by noting that Phish had “sold close to $1 million in concert-show downloads over the

 Internet since opening the livephish.com site in late December.” He observed that “it would not

 be easy for Clear Channel to move into the instant-CD sphere” because of “legal issues,” an

 apparent reference to an earlier observation in the same article that instant discs could pose a

 problem for established artists who have contracts with “major labels.” In and before 2002,

 Clear Channel was Cowan’s client as to unrelated matters that did not concern live events.



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 According to the Complaint, Defendants and Clear Channel “joint[ly] misappropriate[ed] . . .

 Plaintiff’s trade secrets, confidential business models including those contained in Plaintiff’s

 PPA’s.”

        On April 24, 2009, this Court dismissed the Complaint in its entirety. On February 10,

 2012, the Second Circuit affirmed the dismissal, except “to the extent that it dismissed Gurvey’s

 claims for attorney malpractice and breach of fiduciary duty.” Gurvey v. Cowan, Liebowitz &

 Latman, P.C., 462 F. App’x 26, 30 (2d Cir. 2012) (summary order). The Second Circuit held

 that Plaintiff had pleaded a “plausible claim by alleging that [Defendants] used the information

 given to them as part of a confidential attorney-client relationship to their own advantage by

 disclosing it to other clients who then profited therefrom to Gurvey’s detriment.” Id. The

 Second Circuit noted that “[t]he plausibility of this argument is bolstered by Gurvey’s allegation

 that Cowan withdrew from representing Gurvey before the United States Patent and Trademark

 Office due to what Cowan allegedly termed a ‘conflict of interest.’” Id. at n.8.

 II.    LEGAL STANDARD

        Summary judgment should be granted where “there is no genuine issue as to any material

 fact and . . . the moving party is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a);

 accord Proctor v. LeClaire, 846 F.3d 597, 607 (2d Cir. 2017). There is a genuine dispute “when

 the evidence is such that, if the party against whom summary judgment is sought is given the

 benefit of all permissible inferences and all credibility assessments, a rational factfinder could

 resolve all material factual issues in favor of that party,” and “no rational factfinder could find in

 favor of the nonmovant.” SEC v. Frohling, 851 F.3d 132, 136–37 (2d Cir. 2016) (citing

 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)) (affirming summary judgment and

 the district court’s finding that “no rational factfinder could fail to find that Frohling knew” that



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 opinion letters he issued were false, despite his deposition testimony to the contrary, in light of

 his admission and documentary evidence illustrating his knowledge). This standard applies

 “whether summary judgment is granted on the merits or on an affirmative defense such as the

 statute of limitations.” Giordano v. Market Am., Inc., 599 F.3d 87, 93 (2d Cir. 2010).

        The movant bears the initial burden of demonstrating the absence of a genuine dispute as

 to any material fact. Fed. R. Civ. P. 56(c)(1); Celotex Corp. v. Catrett, 477 U.S. 317, 322–23

 (1986). “[T]he movant may satisfy this burden by pointing to an absence of evidence to support

 an essential element of the nonmoving party’s claim.” Gummo v. Vill. of Depew, 75 F.3d 98,

 107 (2d Cir. 1996) (citing Celotex Corp., 477 U.S. at 322–23). The burden then shifts to the

 nonmoving party, who must present evidence sufficient to support a jury verdict in its favor.

 Anderson, 477 U.S. at 249. The court must construe the evidence and draw all reasonable

 inferences in favor of the non-moving party. See Wright, 831 F.3d at 71–72.

        The nonmoving party may not create a triable issue of fact by contradicting factual

 allegations in the Complaint, Rojas v. Roman Catholic Diocese of Rochester, 660 F.3d 98, 106

 (2d Cir. 2011), or submitting an affidavit that disputes her own prior sworn testimony, Moll v.

 Telesector Res. Grp., Inc., 760 F.3d 198, 205 (2d Cir. 2014). “The purpose of th[is ‘sham issue

 of fact’] doctrine is clear: ‘[i]f a party who has been examined at length on deposition could

 raise an issue of fact simply by submitting an affidavit contradicting his own prior testimony, this

 would greatly diminish the utility of summary judgment as a procedure for screening out sham

 issues of fact.” Id.; accord Jeffreys v. City of New York, 426 F.3d 549, 554 (2d Cir. 2005)

 (explaining that “where the plaintiff relies almost exclusively on his own testimony, much of

 which is contradictory and incomplete, it will be impossible for a district court to determine . . .




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 whether there are any genuine issues of material fact, without making some assessment of the

 plaintiff’s account.”).

         New York law governs the substantive issues arising from the surviving claims of

 attorney malpractice and breach of fiduciary duty. “In a diversity action based on attorney

 malpractice, state substantive law . . . applies.” Nordwind v. Rowland, 584 F.3d 420, 429 (2d

 Cir. 2009); accord Henkel v. Wagner, No. 12 Civ. 4098, 2016 WL 1271062, at *5 (S.D.N.Y.

 Mar. 29, 2016). “The parties’ briefs assume that [New York] state law governs this case, and

 ‘such implied consent is . . . sufficient to establish the applicable choice of law.’” Trikona

 Advisers Ltd. v. Chugh, 846 F.3d 22, 31 (2d Cir. 2017) (quoting Arch Ins. Co. v. Precision Stone,

 Inc., 584 F.3d 33, 39 (2d Cir. 2009)).

 III.    DISCUSSION

         Defendants move for summary judgment as to Plaintiff’s claims for attorney malpractice

 and breach of fiduciary duty. The motion is granted on the independent grounds that both claims

 are time barred, and that Plaintiff has proffered insufficient evidence from which a reasonable

 jury could find in her favor on either claim.

         A. Statutes of Limitations

         Plaintiff’s claims are dismissed as untimely because they were not filed within the

 limitations period applicable to each claim -- three years, plus 228 days during which time the

 statutes of limitations were tolled due to Cowan’s representation of Plaintiff in connection with

 her patent application. The Complaint was filed on February 15, 2006. To be timely, any claim

 must have accrued no earlier than three years plus 228 days before that date, or July 2, 2002.

 The evidence in the record, construed in Plaintiff’s favor as required on this motion, shows that




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 any improper disclosure of Plaintiff’s information by Cowan occurred no later than April 2002.

 Accordingly, the claims are time barred.

            1. Relevant Statutory Period

        The surviving claims allege attorney malpractice and breach of fiduciary duty. Each is

 constrained by a three-year statute of limitations period. Under New York law, an action for

 attorney malpractice must be filed within three years from the date of accrual. N.Y. C.P.L.R.

 § 214(6). “For fiduciary duty claims, the choice of the applicable limitations period depends on

 the substantive remedy that the plaintiff seeks.” Rohe v. Bertine, Hufnagel, Headley, Zeltner,

 Drummon & Dohn, LLP, 160 F. Supp. 3d 542, 548 (S.D.N.Y. 2016) (quoting IDT Corp. v.

 Morgan Stanley Dean Witter & Co., 907 N.E.2d 268, 272 (N.Y. 2009)). Where, as here,

 Plaintiff seeks money damages, “a three-year statute of limitations similarly applies.” Id.

        Plaintiff argues that a six-year statute of limitations applies to her breach of fiduciary

 duty claim because “fraud, concealment, sabotage, USPTO false claims as are involved here

 have a six-year statute of limitations.” Plaintiff is correct insofar as “where an allegation of

 fraud is essential to a breach of fiduciary [duty] claim, courts have applied a six-year statute of

 limitations under CPLR 213(8).” Levy v. Young Adult Inst., Inc., No. 13 Civ. 2861, 2016 WL

 6092705, at *20 (S.D.N.Y. Oct. 18, 2016) (quoting IDT Corp., 907 N.E.2d at 272). The six-year

 statute of limitations is inapplicable here, however, because the Complaint’s allegations of

 breach of fiduciary duty are not “inextricably bound to a fraud claim.” Id. The essence of a

 fraud claim is a knowing misrepresentation of material fact. See id. (citing Kaufman v. Cohen,

 760 N.Y.S.2d 157, 164–65 (1st Dep’t 2003)). After the Second Circuit’s remand Order, the

 surviving claims are based on allegations that Defendants “used [Plaintiff’s] information given to

 them as part of a confidential attorney-client relationship to their own advantage by disclosing it



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 to other clients.” Gurvey, 462 F. App’x at 30. As Plaintiff’s fiduciary duty claim is based on the

 alleged misappropriation and wrongful disclosure of Plaintiff’s information and not fraud, the

 three-year -- not the six-year -- statute of limitations applies.

             2. Tolling of the Statute of Limitations

         “‘[T]he rule of continuous representation tolls the running of the [s]tatute of [l]imitations

 on [a] malpractice claim until the ongoing representation is completed.’” Grace v. Law, 21

 N.E.3d 995, 999 (N.Y. 2014) (quoting Shumsky v. Eisenstein, 750 N.E.2d 67, 70 (N.Y. 2001));

 see also Zaref v. Berk & Michaels, P.C., 595 N.Y.S.2d 772, 774 (1st Dep’t 1993) (noting that “a

 client cannot reasonably be expected to assess the quality of the professional service while it is

 still in progress” and finding the continuous representation doctrine applies where “the

 continuous representation . . . [is] in connection with the particular transaction which is the

 subject of the action”). Generally, tolling under the continuous representation doctrine “end[s]

 once the client is informed or otherwise put on notice of the attorney’s withdrawal from

 representation.” Champlin v. Pellegrin, 974 N.Y.S.2d 379, 380 (1st Dep’t 2013) (internal

 quotation marks omitted and alterations in original). There must be “clear indicia of an ongoing,

 continuous, developing, and dependent relationship between [plaintiff and defendant] . . . or a

 mutual understanding of the need for further representation on the specific subject matter[s]

 underlying the malpractice claim.” Id. (internal citation and quotation marks omitted and

 alterations in original). The parties must “explicitly contemplate[] further representation” for

 tolling to apply. Williamson ex rel. Lipper Convertibles, L.P. v. PricewaterhouseCoopers LLP,

 872 N.E.2d 842, 847 (N.Y. 2007); accord Carvel v. Ross, No. 09 Civ. 0722, 2011 WL 856283, at

 *13 (S.D.N.Y. Feb. 16, 2011).




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        The period for which the statute of limitations period is tolled is, at most, the duration of

 the attorney-client relationship. Based on the evidence, no reasonable jury could find that

 Cowan represented Plaintiff before May 10, 2002, or after December 24, 2002 (and likely would

 find that the engagement ended earlier).

        In her May 10, 2002, email Plaintiff asked Jensen for his permission to have the Firm

 represent her before the USPTO and file her PPA. She offered to pay for attorney Montague’s

 time and legal fees, but also offered to retain outside counsel if Jensen preferred. On the same

 day, Jensen authorized Montague to make the USPTO filing and instructed him to keep track of

 his time. Although Plaintiff says that she “may have assumed that Cowan were [her] lawyers” in

 early 2002, the evidence in the record shows that Plaintiff became an employee of Cowan at that

 time, not a client. Based on the undisputed evidence, a reasonable jury could find only that

 Cowan’s representation of Plaintiff began on or after May 10, 2002.

        Defendants expressly repudiated the attorney-client relationship in June 2002, when

 Hyman notified Plaintiff that Defendants would no longer assist with her patent filings, and

 thereafter took no further action on her behalf. Likewise, Plaintiff repudiated the attorney-client

 relationship, first, on October 12, 2002, when she demanded that Defendants return and destroy

 all of her files in their possession, and again, on December 24, 2002, when she threatened in

 writing to sue Defendants. The evidence shows that by December 24, 2002, Plaintiff and

 Defendants both had unequivocally disavowed the attorney-client relationship.

        Plaintiff’s unsupported and contradictory statements, including that “Cowan never

 attempted to withdraw from Plaintiff’s representation until [as late as] February 20, 2007,” are

 insufficient to create a triable issue. First, the Complaint alleges that Cowan represented Plaintiff

 through “at least February 2003 and May, 2003” -- not 2007. Plaintiff may not directly



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 contradict the pleadings to survive a motion for summary judgment, and the Court is entitled to

 disregard such statements. See Rojas, 660 F.3d at 106. Second, Plaintiff has provided no

 evidence that Defendants represented her after December 2002 (or even June 2002), or to

 controvert Defendants’ evidence that (1) Hyman expressly terminated the attorney-client

 relationship in June 2002; (2) Plaintiff requested that the Firm send her all of her files and then

 destroy any copies in October 2002; and (3) Plaintiff threatened to sue Defendants in December

 2002.

         Plaintiff’s own submissions on this motion contradict her argument that Defendants

 represented her after December 2002. For example, Plaintiff argues that “[D]efendant Jensen

 admit[ted] that Montague continued to perform patent searches until May 1, 2003.” However,

 Plaintiff’s corresponding exhibit -- a letter from Jensen to Plaintiff dated May 1, 2003 -- states

 that Montague performed a computer database search at some unspecified time in the past; that

 the search is inconclusive because of information that was unavailable at the time the search was

 conducted; that “we formally withdrew as your counsel in the Patent Office in January, 2003 and

 have not represented you in connection with this matter since that date”; and that it is

 “imperative that [Plaintiff] engage new patent counsel” to meet the looming May 22 and 24

 USPTO deadlines. The implication is that the search was conducted before January 2003 and

 would need to be updated by Plaintiff’s new counsel, who should be hired immediately.

 Nothing in the record suggests that Cowan acted on Plaintiff’s behalf after June 2002.

         No reasonable fact finder could conclude that the parties contemplated or had a mutual

 understanding as to Defendants’ continuing representation respecting Plaintiff’s patent

 application after December 24, 2002. See, e.g., De Carlo v. Ratner, 204 F. Supp. 2d 630, 638

 (S.D.N.Y. 2002) (finding plaintiff’s legal malpractice claim time barred because the continuing



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 representation doctrine was inapplicable and where “there [was] a breakdown” in the attorney-

 client relationship); Tantleff v. Kestenbaum & Mark, 15 N.Y.S.3d 840, 843–44 (2d Dep’t 2015)

 (affirming grant of summary judgment on attorney malpractice claim on the ground that the

 claim was time barred where undisputed facts showed that the representation and tolling had

 ended). Construing the evidence in Plaintiff’s favor, and therefore assuming that Defendants

 represented Plaintiff no earlier than May 10, 2002, until no later than December 24, 2002, the

 statutes of limitations were tolled for 228 days, and any claim must have accrued no earlier than

 July 2, 2002.

            3. Accrual of Plaintiff’s Claims

        Causes of action for both attorney malpractice and breach of fiduciary duty accrue on the

 date of the alleged breach. Rohe, 160 F. Supp. 3d at 549. “What is important is when the

 malpractice was committed, not when the client discovered it.” McCoy v. Feinman, 785 N.E.2d

 714, 718 (N.Y. 2002).

        The surviving claims in this action are based on the allegation that Defendants disclosed

 Plaintiff’s confidential information to other clients. See Gurvey, 462 F. App’x at 30. The

 Complaint alleges that Plaintiff suspected Cowan associate Susan Schick of disclosing Plaintiff’s

 confidential information to Phish band member Michael Gordon before or around February

 2002. Plaintiff, at her deposition, testified that Gordon confirmed in April 2002 that Schick had

 disclosed the information. Construing these facts in the light most favorable to Plaintiff, the

 latest date on which a reasonable jury could find that Plaintiff’s claims accrued based on the

 alleged Phish disclosure was in April 2002.

        The Complaint also alleges that Cowan and Clear Channel jointly misappropriated

 Plaintiff’s information. This allegation appears to be based solely on the May 2003 New York



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 Times article which reported that Clear Channel was beginning an “instant CD” venture, similar

 to but not the same as Plaintiff’s e-ticketing venture, and described as “a continuation of the

 trend among various bands and start-ups in recent years to sell authorized recordings that are

 available on CD or as Internet downloads soon after the event.” The article is insufficient to give

 rise to an inference of improper disclosure by the Firm to Clear Channel. As there is no evidence

 of any improper disclosure of Plaintiff’s information to Clear Channel or any date on which it

 allegedly occurred, there is no date when Plaintiff’s claims based on this alleged disclosure

 accrued.

        Based on an April 2002 accrual date, Plaintiff’s claims are barred by the three-year

 statutes of limitations. Plaintiff filed the Complaint on February 15, 2006. To be timely absent

 tolling, Plaintiff’s claims must have accrued on or after February 15, 2003. Tolling the statutes

 of limitations for 228 days, the duration of Cowan’s representation of Plaintiff, any timely claim

 must have accrued no earlier than 228 days before February 15, 2003, or July 2, 2002.

 Plaintiff’s claims, which accrued no later than April 2002, are untimely.1

        B. Sufficiency of the Evidence

        As noted, the surviving claims in this action are based on the allegation that Defendants

 disclosed Plaintiff’s confidential information to other clients. See Gurvey, 462 F. App’x at 30.

 These claims fail as a matter of law also because Plaintiff has not proffered sufficient evidence

 from which a reasonable jury could find liability or damages.



 1
   Even if the attorney-client relationship continued until January 3, 2003 (the date on which
 Defendants withdrew as Plaintiff’s counsel before the USPTO) or until February 16, 2003 (the
 date on which Plaintiff claims to have learned that Defendants withdrew as her counsel before
 the USPTO), Plaintiff’s claims still are untimely. If the attorney-client relationship continued
 until January 3, 2003 (resulting in a tolling period of 238 days), any timely claim must have
 accrued no earlier than June 22, 2002. If the relationship continued until February 16, 2003
 (resulting in a tolling period of 282 days) any timely claim must have accrued by May 9, 2002.
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        First, the undisputed evidence shows that Plaintiff’s information was not confidential.

 She shared it at a Firm meeting where she did not take any precautions to prevent its

 dissemination. The Complaint also states that she shared it with various third parties, and the

 evidence includes a May 2002 email describing her proposal to a third party. Although the

 claims are premised on the confidentiality of the information in the PPAs, Plaintiff inexplicably

 now contends that the PPAs did not include any confidential information or information that

 would be “of interest to [Defendants’] clients.” Lastly, as discussed in detail above, Cowan did

 not learn Plaintiff’s confidential information during the course of a confidential relationship, as

 the Firm did not yet represent Plaintiff when she initially disclosed it at her employment

 interview in December 2001, and again at the Firm meeting in February 2002.

        Second, Plaintiff has not adduced evidence to show that she entrusted information with

 Defendants during the course of any attorney-client or other fiduciary relationship, or that

 Defendants disclosed her information during the course of such a relationship. Both the

 disclosure by Plaintiff to the Firm, and the Firm’s alleged disclosure to Pfish, occurred prior to

 the commencement of the representation. “Failure to establish an attorney-client relationship

 prevents a plaintiff from proceeding on a legal malpractice claim.” Case v. Clivilles, 216 F.

 Supp. 3d 367, 379 (S.D.N.Y. 2016).

        Third, as discussed above, Plaintiff has failed to adduce any evidence that the Firm

 disclosed her information to Clear Channel. Plaintiff repeatedly testified at her deposition that

 she does not have specific evidence that any of the individual Defendants actually disclosed her

 confidential information.

        Fourth, Plaintiff has not presented evidence from which a reasonable jury could conclude

 that she suffered damages that were proximately caused by Defendants’ alleged breach. In



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 remanding the claims at issue, the Second Circuit cited Ulico Casualty Co. v Wilson, Elser,

 Moskowitz, Edelman & Dicker, 865 N.Y.S.2d 14, 22 (1st Dep’t 2008), which held that a plaintiff

 must establish “but for causation” to recover on either an attorney malpractice claim or a breach

 of fiduciary duty claim against an attorney; “the plaintiff must establish the ‘but for’ element of

 malpractice” -- i.e., that Plaintiff would not have sustained a loss but for the defendant attorney’s

 breach. See also Reubens v. Mason, 387 F.3d 183, 189 (2d Cir. 2004). “[M]ere speculation of a

 loss resulting from an attorney’s alleged omissions . . . is insufficient to sustain a claim for legal

 malpractice.” Gallet, Dreyer & Berkey, LLP v. Basile, 35 N.Y.S.3d 56, 58 (1st Dep’t 2016)

 (quoting Markard v. Bloom, 770 N.Y.S.2d 869, 869 (1st Dep’t 2004) (alterations in original).

 “[S]ummary judgment dismissing the legal malpractice claim has been granted where the

 asserted damages are vague, unclear, or speculative.” Id. at 59.

        There is no evidence in the record, expert or otherwise, that Plaintiff’s venture would

 have been commercially successful but for any alleged conduct of Defendants, or that she would

 not have suffered any other actual damages but for the alleged improper disclosures. See id. at

 58–59 (affirming summary judgment on malpractice claim because damages were purely

 speculative); see also Stonewell Corp. v. Conestoga Title Ins. Co., 678 F. Supp. 2d 203, 212

 (S.D.N.Y. 2010) (noting that “[e]xpert testimony is sometimes required to establish . . . whether

 the negligence proximately caused any injury to the plaintiff-client”); O’Shea v. Brennan, No. 02

 Civ. 3396, 2004 WL 583766, at *14 (S.D.N.Y. Mar. 23, 2004) (granting summary judgment as

 to legal malpractice claim because “without expert testimony, it is unlikely that a jury could

 conclude whether, but for O’Shea’s failure to file timely, [plaintiff] would have been successful

 in a defamation action in New York, had such an action been commenced”).




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         Plaintiff erroneously argues that “in the event an attorney breaches his duty of loyalty, the

 client, as a matter of law, is not required to meet the higher standard of pleading and proving

 causation; but rather, must demonstrate only that the breach or conflict of interest was a

 substantial factor in bringing about its loss.” The cases on which Plaintiff relies are inapposite or

 do not stand for the propositions for which she cites them. See, e.g., Ulico Cas. Co., 865

 N.Y.S.2d at 22 (“[T]he plaintiff must establish the ‘but for’ element of malpractice”); Schneider

 v. Wien & Malkin LLP, No. 601363/02, 2004 WL 2495843, at *17 n.10 (N.Y. Sup. Ct. Nov. 1,

 2004) (“The more rigorous ‘but for’ standard of causation will be applied where a breach of

 fiduciary claim against an attorney is premised on allegations of legal malpractice”); Estate of Re

 v. Kornstein Veisz & Wexler, 958 F. Supp. 907, 924 (S.D.N.Y. 1997) (“[T]o recover for legal

 malpractice, it must be shown not only that the attorney was negligent, but also that ‘but for’ the

 attorney’s negligence the plaintiff would have prevailed in the underlying action.”).

         Because the evidence is insufficient to create any genuine issue of material fact as to

 Defendants’ liability or Plaintiff’s alleged damages, summary judgment is granted on this basis

 in addition to the expiration of the statutes of limitations.

 IV.     CONCLUSION

         For the foregoing reasons, Defendants’ motion for summary judgment is GRANTED,

 and Plaintiff’s cross-motions are DENIED. Any of Plaintiff’s claims or arguments not addressed

 herein have been considered and rejected. The Clerk of Court is directed to close the motion at

 Docket No. 375 and close this case.

 Dated: July 6, 2017
        New York, New York




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                                                                  ID #:743
                                                                   General Docket
                                                             Court of Appeals, 2nd Circuit
  Court of Appeals Docket #: 17-2760                                                                                Docketed: 09/05/2017
  Nature of Suit: 4190 CONTRACT-Other Contract Action                                                                Termed: 12/04/2018
  Gurvey v. Cowan, Liebowitz & Latman, PC
  Appeal From: SDNY (NEW YORK CITY)
  Fee Status: Paid

  Case Type Information:
    1) Civil
    2) Private
    3) -

  Originating Court Information:
     District: 0208-1 : 06-cv-1202
     Trial Judge: Lorna G. Schofield, U.S. District Judge
     Trial Judge: Henry B. Pitman, U.S. Magistrate Judge
     Date Filed: 02/15/2006
     Date Order/Judgment:                                                              Date NOA Filed:
     08/09/2017                                                                        09/01/2017

  Prior Cases:
     09-2185 Date Filed: 05/22/2009 Date Disposed: 02/10/2012 Disposition: FRAP procedural without judici
     10-3698 Date Filed: 09/15/2010 Date Disposed: 12/28/2010 Disposition: Original Proceedings denied
     10-4111 Date Filed: 10/08/2010 Date Disposed: 02/10/2012 Disposition: Affirmed In Part and Rev Vac In Part
     14-960 Date Filed: 03/27/2014 Date Disposed: 04/15/2015 Disposition: Dismissed/frivolous
     15-285 Date Filed: 02/02/2015 Date Disposed: 04/15/2015 Disposition: Dismissed/frivolous
     15-2703 Date Filed: 08/24/2015 Date Disposed: 10/05/2015 Disposition: FRAP 42 P Stipulation with prejudice
     15-2724 Date Filed: 08/25/2015 Date Disposed: 11/30/2015 Disposition: Original Proceedings denied
     15-3049 Date Filed: 09/29/2015 Date Disposed: 11/30/2015 Disposition: Dismissed/frivolous

  Current Cases:
    None

  Panel Assignment:                Not available



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  ------------------------------

  Cowan, Liebowitz and Lathman, P.C.                                        J. Richard Supple, -
              Defendant - Appellee                                          [COR NTC Retained]
                                                                            Hinshaw & Culbertson LLP
                                                                            800 Third Avenue, 13th Floor
                                                                            New York, NY 10022

  Clear Channel Communications, Inc.                                        J. Richard Supple, -
             Defendant - Appellee                                           [COR NTC Retained]
                                                                            (see above)

  Live Nation, Inc.                                                         J. Richard Supple, -
                Defendant - Appellee                                        [COR NTC Retained]
                                                                            (see above)

  Instant Live Concerts, LLC                                                J. Richard Supple, -
                Defendant - Appellee                                        [COR NTC Retained]
                                                                            (see above)
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                                                                                  Docket        Page 38 of 132 Page
  Nexticketing, Incorporated
                                                                  ID #:744
                                                                       J. Richard Supple, -
               Defendant - Appellee                                      [COR NTC Retained]
                                                                         (see above)

  William Borchard                                                       J. Richard Supple, -
               Defendant - Appellee                                      [COR NTC Retained]
                                                                         (see above)

  Midge Hyman                                                            J. Richard Supple, -
            Defendant - Appellee                                         [COR NTC Retained]
                                                                         (see above)

  Baila Celedonia                                                        J. Richard Supple, -
              Defendant - Appellee                                       [COR NTC Retained]
                                                                         (see above)

  Christopher Jensen                                                     J. Richard Supple, -
               Defendant - Appellee                                      [COR NTC Retained]
                                                                         (see above)

  Dale Head                                                              J. Richard Supple, -
                Defendant - Appellee                                     [COR NTC Retained]
                                                                         (see above)

  Steve Simon                                                            J. Richard Supple, -
                Defendant - Appellee                                     [COR NTC Retained]
                                                                         (see above)

  Nicole Ann Gordon                                                      J. Richard Supple, -
              Defendant - Appellee                                       [COR NTC Retained]
                                                                         (see above)

  Susan Schick                                                           J. Richard Supple, -
              Defendant - Appellee                                       [COR NTC Retained]
                                                                         (see above)

  Does, 1-X Inclusive
               Defendant

  Michael Gordon
              Defendant




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                                                                  ID #:745
  Amy Rebecca Gurvey,

                Plaintiff - Appellant,

  v.

  Cowan, Liebowitz & Latman, P.C., Clear Channel Communications, Inc., Live Nation, Inc., Instant Live Concerts, LLC, Nexticketing,
  Incorporated, William Borchard, Midge Hyman, Baila Celedonia, Christopher Jensen, Dale Head, Steve Simon, Nicole Ann Gordon,
  Susan Schick,

                Defendants - Appellees,

  Does, 1-X Inclusive, Michael Gordon,

                Defendants.




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                                                                  ID #:746
  09/05/2017         1             NOTICE OF CIVIL APPEAL, with district court docket, on behalf of Appellant Amy Rebecca Gurvey,
                93 pg, 1.83 MB     FILED. [2117145] [17-2760] [Entered: 09/05/2017 03:55 PM]
  09/05/2017         2             DISTRICT COURT ORDER, dated 08/09/2017, RECEIVED.[2117149] [17-2760] [Entered: 09/05/2017
                3 pg, 200.9 KB     03:57 PM]
  09/05/2017         3             DISTRICT COURT MEMO ENDORSEMENT, dated 08/09/2017, RECEIVED.[2117150] [17-2760]
                1 pg, 35.92 KB     [Entered: 09/05/2017 03:58 PM]
  09/05/2017         4             PAYMENT OF DOCKETING FEE, on behalf of Appellant Amy Rebecca Gurvey, USCA receipt #
                1 pg, 45.98 KB     465401189944, FILED.[2117152] [17-2760] [Entered: 09/05/2017 03:58 PM]
  09/05/2017         5             ELECTRONIC INDEX, in lieu of record, FILED.[2117154] [17-2760] [Entered: 09/05/2017 03:59 PM]
                56 pg, 289.64 KB

  09/05/2017         9             NON-ADMITTED ATTORNEY, Party Amy Rebecca Gurvey, orally informed to apply for admission
                                   forthwith and submit Addendum A to Notice of Appearance, NOTIFIED.[2117237] [17-2760] [Entered:
                                   09/05/2017 04:32 PM]
  09/20/2017         10            ORDER, dated 09/20/2017, dismissing appeal by 10/04/2017, unless Appellant Amy Rebecca Gurvey
                1 pg, 36.86 KB     submits Form C and D, FILED.[2129496] [17-2760] [Entered: 09/20/2017 12:55 PM]
  09/20/2017         11            ORDER, dated 09/20/2017, dismissing appeal by 10/04/2017, unless Appellant Amy Rebecca Gurvey
                1 pg, 36.83 KB     submits acknowledgment and notice of appearance, FILED.[2129499] [17-2760] [Entered: 09/20/2017
                                   12:58 PM]
  09/20/2017         12            NOTICE, to Appellee William Borchard, Baila Celedonia, Clear Channel Communications, Inc., Cowan,
                1 pg, 9.68 KB      Liebowitz & Lathman, PC, Nicole Ann Gordon, Dale Head, Midge Hyman, Instant Live Concerts, LLC,
                                   Christopher Jensen, Live Nation, Inc., Nexticketing, Incorporated, Susan Schick and Steve Simon , for
                                   failure to file an appearance, SENT.[2129508] [17-2760] [Entered: 09/20/2017 01:01 PM]
  09/20/2017         13            ACKNOWLEDGMENT AND NOTICE OF APPEARANCE, on behalf of Appellee William Borchard, Baila
                                   Celedonia, Clear Channel Communications, Inc., Cowan, Liebowitz & Lathman, PC, Nicole Ann Gordon,
                                   Dale Head, Midge Hyman, Instant Live Concerts, LLC, Christopher Jensen, Live Nation, Inc.,
                                   Nexticketing, Incorporated, Susan Schick and Steve Simon, FILED. Service date 09/20/2017 by CM/ECF.
                                   [2129685] [17-2760] [Entered: 09/20/2017 03:15 PM]
  09/20/2017         14            DEFECTIVE DOCUMENT, ACKNOWLEDGMENT AND NOTICE OF APPEARANCE, [13], on behalf of
                2 pg, 17.93 KB     Appellee William Borchard, Baila Celedonia, Clear Channel Communications, Inc., Cowan, Liebowitz &
                                   Lathman, PC, Nicole Ann Gordon, Dale Head, Midge Hyman, Instant Live Concerts, LLC, Christopher
                                   Jensen, Live Nation, Inc., Nexticketing, Incorporated, Susan Schick and Steve Simon, FILED.[2129757]
                                   [17-2760] [Entered: 09/20/2017 03:51 PM]
  09/20/2017         15            ACKNOWLEDGMENT AND NOTICE OF APPEARANCE, on behalf of Appellee William Borchard, Baila
                                   Celedonia, Clear Channel Communications, Inc., Cowan, Liebowitz & Lathman, PC, Nicole Ann Gordon,
                                   Dale Head, Midge Hyman, Instant Live Concerts, LLC, Christopher Jensen, Live Nation, Inc.,
                                   Nexticketing, Incorporated, Susan Schick and Steve Simon, FILED. Service date 09/20/2017 by CM/ECF.
                                   [2129794] [17-2760] [Entered: 09/20/2017 04:05 PM]
  09/20/2017         16            DEFECTIVE DOCUMENT,ACKNOWLEDGMENT AND NOTICE OF APPEARANCE, [15], on behalf of
                2 pg, 17.96 KB     Appellee William Borchard, Baila Celedonia, Clear Channel Communications, Inc., Cowan, Liebowitz &
                                   Lathman, PC, Nicole Ann Gordon, Dale Head, Midge Hyman, Instant Live Concerts, LLC, Christopher
                                   Jensen, Live Nation, Inc., Nexticketing, Incorporated, Susan Schick and Steve Simon, FILED.[2129808]
                                   [17-2760] [Entered: 09/20/2017 04:11 PM]
  09/20/2017         17            ACKNOWLEDGMENT AND NOTICE OF APPEARANCE, on behalf of Appellee William Borchard, Baila
                1 pg, 36.31 KB     Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman and Christopher Jensen, FILED. Service
                                   date 09/20/2017 by CM/ECF.[2129937] [17-2760] [Entered: 09/20/2017 05:38 PM]
  09/21/2017         18            CURED DEFECTIVE, ACKNOWLEDGMENT AND NOTICE OF APPEARANCE, [17], on behalf of
                                   Appellee William Borchard, Baila Celedonia, Cowan, Liebowitz & Lathman, PC, Midge Hyman and
                                   Christopher Jensen, FILED.[2130477] [17-2760] [Entered: 09/21/2017 12:06 PM]
  10/04/2017         25            FORM C, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date 10/04/2017 by US mail.
                366 pg, 9.86 MB    [2143411] [17-2760] [Entered: 10/10/2017 12:55 PM]
  10/04/2017         26            FORM D-P, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date 10/04/2017 by US mail.
                2 pg, 67.79 KB     [2143417] [17-2760] [Entered: 10/10/2017 12:59 PM]
  10/06/2017         21            ORDER, [10] appeal dismissed for appellant/petitioner Appellant Amy Rebecca Gurvey failure to file
                                   forms, C & D, EFFECTIVE. [2141932] [17-2760] [Entered: 10/06/2017 10:15 AM]
  10/06/2017         22            ORDER, vacating dismissal order dated 09/20/2017, FILED.[2142103] [17-2760] [Entered: 10/06/2017
                1 pg, 24.57 KB     11:29 AM]
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                                   LETTER, dated 10/09/2017, on behalf of Appellant Amy Rebecca Gurvey, Informing the court she is a pro
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                3 pg, 224.37 KB    se litigant inventor for this appeal, RECEIVED. Service date 10/11/2017 by US mail.[2145749] [17-2760]
                                   [Entered: 10/12/2017 11:10 AM]
  10/19/2017         31            ACKNOWLEDGMENT AND NOTICE OF APPEARANCE, on behalf of Appellant Amy Rebecca Gurvey,
                3 pg, 63.71 KB     FILED. Service date 10/19/2017 by CM/ECF.[2152212] [17-2760] [Entered: 10/19/2017 04:30 PM]
  10/27/2017         34            NEW CASE MANAGER, Khadijah Young, ASSIGNED.[2158270] [17-2760] [Entered: 10/27/2017 10:07
                1 pg, 9.17 KB      AM]
  11/01/2017         37            LETTER, on behalf of Appellant Amy Rebecca Gurvey, dated 11/01/2017 in re: transcripts RECEIVED.
                                   Service date 11/01/2017 by CM/ECF.[2162130] [17-2760]--[Edited 11/01/2017 by KY] [Entered:
                                   11/01/2017 03:00 PM]
  11/01/2017         38            DEFECTIVE DOCUMENT, letter, [37], on behalf of Appellant Amy Rebecca Gurvey, FILED.[2162339] [17-
                2 pg, 17.34 KB     2760] [Entered: 11/01/2017 04:32 PM]
  11/01/2017         39            TRANSCRIPT STATUS UPDATE LETTER, dated 11/01/2017, on behalf of Appellant Amy Rebecca
                2 pg, 250.66 KB    Gurvey , informing court of transcript delays, RECEIVED. Service date 11/01/2017 by CM/ECF.[2162391]
                                   [17-2760] [Entered: 11/01/2017 05:06 PM]
  11/02/2017         40            CURED DEFECTIVE letter [39], on behalf of Appellant Amy Rebecca Gurvey, FILED.[2162712] [17-2760]
                                   [Entered: 11/02/2017 10:01 AM]
  11/28/2017         42            TRANSCRIPT STATUS UPDATE LETTER, dated 11/28/2017, on behalf of Appellant Amy Rebecca
                3 pg, 332.26 KB    Gurvey , informing court of transcript delays, RECEIVED. Service date 11/28/2017 by CM/ECF.[2181001]
                                   [17-2760] [Entered: 11/28/2017 01:33 PM]
  11/30/2017         43            MOTION, to supplement record on appeal, to disqualify attorney, on behalf of Appellant Amy Rebecca
                                   Gurvey, FILED. Service date 11/30/2017 by CM/ECF. [2183513] [17-2760] [Entered: 11/30/2017 01:23
                                   PM]
  11/30/2017         44            DEFECTIVE DOCUMENT, motion to supplement record on appeal, to disqualify attorney, [43],[43], on
                2 pg, 17.35 KB     behalf of Appellant Amy Rebecca Gurvey, FILED.[2183715] [17-2760] [Entered: 11/30/2017 03:08 PM]
  12/01/2017         45            MOTION, to supplement record on appeal, to disqualify attorney, on behalf of Appellant Amy Rebecca
                                   Gurvey, FILED. Service date 12/01/2017 by CM/ECF. [2184250] [17-2760] [Entered: 12/01/2017 09:45
                                   AM]
  12/01/2017         46            DEFECTIVE DOCUMENT, motion to supplement record on appeal, to disqualify attorney, [45],[45], on
                2 pg, 17.46 KB     behalf of Appellant Amy Rebecca Gurvey, FILED.[2184380] [17-2760] [Entered: 12/01/2017 10:31 AM]
  12/02/2017         47            MOTION, to supplement record on appeal, to disqualify attorney, on behalf of Appellant Amy Rebecca
                141 pg, 5.3 MB     Gurvey, FILED. Service date 12/02/2017 by CM/ECF. [2185253] [17-2760] [Entered: 12/02/2017 08:25
                                   AM]
  12/04/2017         48            CURED DEFECTIVE motion to supplement record on appeal, to disqualify attorney, [47],[47], on behalf of
                                   Appellant Amy Rebecca Gurvey, FILED.[2185345] [17-2760] [Entered: 12/04/2017 09:46 AM]
  12/11/2017         55            OPPOSITION TO MOTION, [47], [47], [45], [45], [43], [43], on behalf of Appellee William Borchard,
                24 pg, 899.19 KB   Cowan, Liebowitz & Lathman, PC, Midge Hyman, Baila Celedonia and Christopher Jensen, FILED.
                                   Service date 12/11/2017 by CM/ECF. [2191478] [17-2760]--[Edited 12/15/2017 by KY] [Entered:
                                   12/11/2017 02:44 PM]
  01/02/2018         64            TRANSCRIPT STATUS UPDATE LETTER, dated 12/30/2017, on behalf of Appellant Amy Rebecca
                2 pg, 306.46 KB    Gurvey , informing court of transcript delays, RECEIVED. Service date 01/02/2018 by CM/ECF.[2204805]
                                   [17-2760] [Entered: 01/02/2018 07:08 PM]
  02/16/2018         68            TRANSCRIPT STATUS UPDATE LETTER, dated 02/14/2018, on behalf of Appellant Amy Rebecca
                29 pg, 929.03 KB   Gurvey , informing court of transcript delays, RECEIVED. Service date 02/16/2018 by CM/ECF.[2238106]
                                   [17-2760] [Entered: 02/16/2018 01:18 PM]
  02/21/2018         69            LETTER, on behalf of Appellee Cowan, Liebowitz & Lathman, PC, dated 02/21/2018 in re: briefing
                1 pg, 91.42 KB     schedule RECEIVED. Service date 02/21/2018 by US mail.[2240501] [17-2760]--[Edited 02/21/2018 by
                                   KY] [Entered: 02/21/2018 03:14 PM]
  02/22/2018         72            TRANSCRIPT STATUS UPDATE LETTER, dated 02/22/2018, on behalf of Appellant Amy Rebecca
                7 pg, 239.98 KB    Gurvey , informing court of transcript delays, RECEIVED. Service date 02/22/2018 by CM/ECF.[2241485]
                                   [17-2760] [Entered: 02/22/2018 02:38 PM]
  02/23/2018         74            ORDER, dated 02/23/2018, setting 04/04/2018 due date for Appellant's brief and appendix, copy to pro
                1 pg, 62.46 KB     se, FILED.[2242479] [17-2760] [Entered: 02/23/2018 11:55 AM]
  03/07/2018         75            TRANSCRIPT STATUS UPDATE LETTER, dated 03/07/2018, on behalf of Appellant Amy Rebecca
                2 pg, 41.02 KB     Gurvey , informing court of transcript delays, RECEIVED. Service date 03/07/2018 by CM/ECF.[2251496]
                                   [17-2760] [Entered: 03/07/2018 04:02 PM]
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  03/07/2018
                                                                  ID   #:748
                                    MOTION, to extend time, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date 03/07/2018
                     76
                                    by CM/ECF. [2251498] [17-2760] [Entered: 03/07/2018 04:05 PM]
  03/08/2018         77             DEFECTIVE DOCUMENT, motion to extend time, [76], on behalf of Appellant Amy Rebecca Gurvey,
                2 pg, 18.56 KB      FILED.[2251621] [17-2760] [Entered: 03/08/2018 09:04 AM]
  03/08/2018         79             TRANSCRIPT STATUS UPDATE LETTER, dated 03/08/2018, on behalf of Appellant Amy Rebecca
                1 pg, 86.77 KB      Gurvey , informing court of transcript delays, RECEIVED. Service date 03/08/2018 by CM/ECF.[2251915]
                                    [17-2760] [Entered: 03/08/2018 11:11 AM]
  03/09/2018         80             TRANSCRIPT STATUS UPDATE LETTER, dated 03/09/2018, on behalf of Appellant Amy Rebecca
                1 pg, 88.42 KB      Gurvey, informing court of transcript delays, RECEIVED. Service date 03/09/2018 by CM/ECF.[2253879]
                                    [17-2760] [Entered: 03/09/2018 04:50 PM]
  03/10/2018         81             MOTION, to certify question, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date
                178 pg, 12.88 MB    03/10/2018 by CM/ECF. [2253966] [17-2760] [Entered: 03/10/2018 05:54 PM]
  03/12/2018         82             CURED DEFECTIVE Motion to extend time, [81], on behalf of Appellant Amy Rebecca Gurvey, FILED.
                                    [2254112] [17-2760] [Entered: 03/12/2018 09:42 AM]
  03/12/2018         84             TRANSCRIPT STATUS UPDATE LETTER, dated 03/12/2018, on behalf of Appellant Amy Rebecca
                1401 pg, 12.47 MB   Gurvey, informing court of transcript delays, RECEIVED. Service date 03/12/2018 by CM/ECF.[2254143]
                                    [17-2760] [Entered: 03/12/2018 10:01 AM]
  03/12/2018         87             OPPOSITION TO MOTION, [76], on behalf of Appellee Cowan, Liebowitz & Lathman, PC, FILED. Service
                                    date 03/12/2018 by CM/ECF. [2254840] [17-2760] [Entered: 03/12/2018 03:55 PM]
  03/12/2018         88             DEFECTIVE DOCUMENT, Opposition to Motion, [87], on behalf of Appellee Cowan, Liebowitz & Lathman,
                2 pg, 17.4 KB       PC, FILED.[2254870] [17-2760] [Entered: 03/12/2018 04:04 PM]
  03/12/2018         89             OPPOSITION TO MOTION, [76], on behalf of Appellee Cowan, Liebowitz & Lathman, PC, FILED. Service
                35 pg, 1.67 MB      date 03/12/2018 by CM/ECF. [2254958] [17-2760] [Entered: 03/12/2018 04:34 PM]
  03/13/2018         90             CURED DEFECTIVE Opposition to Motion, [89], on behalf of Appellee Cowan, Liebowitz & Lathman, PC,
                                    FILED.[2255236] [17-2760] [Entered: 03/13/2018 10:07 AM]
  03/14/2018         95             MOTION ORDER, denying Appellant's motion to extend time to file the brief and appendix, by RKW,
                1 pg, 60.46 KB      FILED. [2256958][95] [17-2760] [Entered: 03/14/2018 03:19 PM]
  03/14/2018         96             MOTION, to impose sanction, on behalf of Appellee Cowan, Liebowitz & Lathman, PC, FILED. Service
                36 pg, 1.71 MB      date 03/14/2018 by CM/ECF. [2257216] [17-2760] [Entered: 03/14/2018 07:26 PM]
  03/15/2018         100            SUPPLEMENTARY PAPERS TO MOTION [96], on behalf of Appellee Cowan, Liebowitz & Lathman, PC,
                                    FILED. Service date 03/15/2018 by CM/ECF.[2257551][100] [17-2760] [Entered: 03/15/2018 10:53 AM]
  03/15/2018         101            SUPPLEMENTARY PAPERS TO MOTION [96], on behalf of Appellee Cowan, Liebowitz & Lathman, PC,
                5 pg, 155.87 KB     FILED. Service date 03/15/2018 by CM/ECF.[2257578][101] [17-2760] [Entered: 03/15/2018 11:06 AM]
  03/15/2018         102            DEFECTIVE DOCUMENT, supplementary papers to motion, [100], on behalf of Appellee Cowan,
                2 pg, 17.27 KB      Liebowitz & Lathman, PC, FILED.[2257593] [17-2760] [Entered: 03/15/2018 11:13 AM]
  03/15/2018         103            CURED DEFECTIVE supplementary papers to motion, [101], on behalf of Appellee Cowan, Liebowitz &
                                    Lathman, PC, FILED.[2257597] [17-2760] [Entered: 03/15/2018 11:18 AM]
  03/16/2018         107            REPLY TO OPPOSITION [89], [87], on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date
                47 pg, 2.47 MB      03/16/2018 by CM/ECF.[2259158][107] [17-2760] [Entered: 03/16/2018 07:49 PM]
  03/19/2018         108            OPPOSITION TO MOTION, [96], on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date
                90 pg, 2.85 MB      03/16/2018 by CM/ECF. [2259504] [17-2760] [Entered: 03/19/2018 11:02 AM]
  03/19/2018         110            STAY STATUS UPDATE LETTER, dated 03/19/2018, on behalf of Appellant Amy Rebecca Gurvey, dated
                                    03/19/2018 in re: exhibits, RECEIVED. Service date 03/19/2018 by CM/ECF.[2259579] [17-2760]--[Edited
                                    03/22/2018 by KY] [Entered: 03/19/2018 11:30 AM]
  03/21/2018         113            DEFECTIVE DOCUMENT, letter, [110], on behalf of Appellant Amy Rebecca Gurvey, FILED.[2261806]
                2 pg, 17.3 KB       [17-2760] [Entered: 03/21/2018 01:37 PM]
  03/21/2018         114            LETTER, on behalf of Appellant Amy Rebecca Gurvey, dated 03/19/2018 in re: exhibits RECEIVED.
                5 pg, 188.74 KB     Service date 03/19/2018 by CM/ECF.[2261842] [17-2760]--[Edited 03/22/2018 by KY] [Entered:
                                    03/21/2018 04:08 PM]
  03/22/2018         115            CURED DEFECTIVE letter, [114], on behalf of Appellant Amy Rebecca Gurvey, FILED.[2262645] [17-
                                    2760] [Entered: 03/22/2018 03:24 PM]
  03/26/2018         117            LETTER, on behalf of Appellant Amy Rebecca Gurvey, in re: support to Motion to certify RECEIVED.
                                    Service date 03/25/2018 by CM/ECF.[2264043] [17-2760]--[Edited 03/26/2018 by KY] [Entered:
                                    03/26/2018 12:54 AM]
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  03/26/2018
                                                                 ID #:749
                                   MOTION, to impose sanction, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date
                     118
                                   03/25/2018 by CM/ECF. [2264044] [17-2760] [Entered: 03/26/2018 01:10 AM]
  03/26/2018         119           DEFECTIVE DOCUMENT, letter and motion to impose sanction, [118], [117], on behalf of Appellant Amy
                2 pg, 17.51 KB     Rebecca Gurvey, FILED.[2264277] [17-2760] [Entered: 03/26/2018 11:03 AM]
  03/26/2018         120           LETTER, on behalf of Appellee Cowan, Liebowitz & Lathman, PC, dated 03/26/2018 in re: response to
                1 pg, 37.78 KB     Appellant's latest correspondence, RECEIVED. Service date 03/26/2018 by CM/ECF.[2264299] [17-2760]-
                                   -[Edited 03/26/2018 by KY] [Entered: 03/26/2018 11:14 AM]
  03/26/2018         121           SUPPLEMENTARY PAPERS TO WRIT [81], on behalf of Appellant Amy Rebecca Gurvey, FILED. Service
                                   date 03/25/2018 by CM/ECF.[2264464][121] [17-2760] [Entered: 03/26/2018 12:34 PM]
  03/26/2018         122           DEFECTIVE DOCUMENT, Supplementary Papers to Writ, [121], on behalf of Appellant Amy Rebecca
                2 pg, 17.5 KB      Gurvey, FILED.[2264556] [17-2760] [Entered: 03/26/2018 01:48 PM]
  03/26/2018         123           SUPPLEMENTARY PAPERS TO WRIT [81], on behalf of Appellant Amy Rebecca Gurvey, FILED. Service
                                   date 03/25/2018 by CM/ECF.[2265033][123] [17-2760] [Entered: 03/26/2018 06:20 PM]
  03/28/2018         124           SUPPLEMENTARY PAPERS TO WRIT [81], on behalf of Appellant Amy Rebecca Gurvey, FILED. Service
                                   date 03/28/2018 by CM/ECF.[2266168][124] [17-2760] [Entered: 03/28/2018 07:56 AM]
  03/28/2018         125           DEFECTIVE DOCUMENT, Supplementary Papers to Motion, [124], [123], on behalf of Appellant Amy
                2 pg, 18.9 KB      Rebecca Gurvey, FILED.[2266210] [17-2760] [Entered: 03/28/2018 08:56 AM]
  03/28/2018         126           SUPPLEMENTARY PAPERS TO WRIT [81], on behalf of Appellant Amy Rebecca Gurvey, FILED. Service
                                   date 03/28/2018 by CM/ECF.[2266351][126] [17-2760] [Entered: 03/28/2018 10:17 AM]
  03/29/2018         128           SUPPLEMENTARY PAPERS TO MOTION [81], on behalf of Appellant Amy Rebecca Gurvey, FILED.
                24 pg, 1.35 MB     Service date 03/29/2018 by CM/ECF.[2267308][128] [17-2760] [Entered: 03/29/2018 10:08 AM]
  03/29/2018         129           DEFECTIVE DOCUMENT, Supplementary Papers to Motion, [126], on behalf of Appellant Amy Rebecca
                2 pg, 17.29 KB     Gurvey, FILED.[2267318] [17-2760] [Entered: 03/29/2018 10:13 AM]
  03/29/2018         130           CURED DEFECTIVE Supplementary Papers to Motion, [128], on behalf of Appellant Amy Rebecca
                                   Gurvey, FILED.[2267326] [17-2760] [Entered: 03/29/2018 10:17 AM]
  04/04/2018         135           BRIEF, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date 04/04/2018 by CM/ECF.
                                   [2271069] [17-2760] [Entered: 04/04/2018 07:45 AM]
  04/04/2018         136           APPENDIX, volume 1 of 3, (pp. 1-105), on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date
                                   04/04/2018 by CM/ECF.[2272320] [17-2760] [Entered: 04/04/2018 11:07 PM]
  04/04/2018         137           APPENDIX, volume 2 of 3, (pp. 1-183), on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date
                                   04/04/2018 by CM/ECF.[2272322] [17-2760] [Entered: 04/04/2018 11:14 PM]
  04/04/2018         138           APPENDIX, volume 3 of 3, (pp. 1-250), on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date
                                   04/04/2018 by CM/ECF.[2272323] [17-2760] [Entered: 04/04/2018 11:23 PM]
  04/05/2018         139           DEFECTIVE DOCUMENT, Brief and Appendix volumes 1-3, [138], [137], [136], [135], on behalf of
                2 pg, 17.92 KB     Appellant Amy Rebecca Gurvey, FILED.[2272459] [17-2760] [Entered: 04/05/2018 10:01 AM]
  04/09/2018         140           BRIEF & APPENDIX, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date 04/09/2018 by
                                   CM/ECF. [2274716] [17-2760] [Entered: 04/09/2018 12:50 PM]
  04/09/2018         141           DEFECTIVE DOCUMENT, Brief & Appendix, [140], on behalf of Appellant Amy Rebecca Gurvey, FILED.
                2 pg, 17.95 KB     [2275121] [17-2760] [Entered: 04/09/2018 04:43 PM]
  04/09/2018         142           BRIEF, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date 04/09/2018 by CM/ECF.
                52 pg, 337.47 KB   [2275207] [17-2760] [Entered: 04/09/2018 06:11 PM]
  04/09/2018         143           APPENDIX, volume 1 of 2, (pp. 1-265), on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date
                272 pg, 11.65 MB   04/09/2018 by CM/ECF.[2275209] [17-2760] [Entered: 04/09/2018 06:14 PM]
  04/09/2018         144           APPENDIX, volume 2 of 2, (pp. 266-526), on behalf of Appellant Amy Rebecca Gurvey, FILED. Service
                268 pg, 8.76 MB    date 04/09/2018 by CM/ECF.[2275210] [17-2760] [Entered: 04/09/2018 06:15 PM]
  04/09/2018         145           SPECIAL APPENDIX, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date 04/09/2018 by
                156 pg, 5.96 MB    CM/ECF.[2275212] [17-2760] [Entered: 04/09/2018 06:18 PM]
  04/11/2018         146           LR 31.2 SCHEDULING NOTIFICATION, on behalf of Appellee Cowan, Liebowitz & Lathman, PC,
                1 pg, 23.92 KB     informing Court of proposed due date 06/11/2018, RECEIVED. Service date 04/11/2018 by CM/ECF.
                                   [2276401] [17-2760] [Entered: 04/11/2018 09:35 AM]
  04/11/2018         150           CURED DEFECTIVE Brief and Appendix volumes 1-3, [145], [144], [143], [142], on behalf of Appellant
                                   Amy Rebecca Gurvey, FILED.[2277085] [17-2760] [Entered: 04/11/2018 04:14 PM]


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  04/11/2018
                                                          ID #:750
                                   SO-ORDERED SCHEDULING NOTIFICATION, setting Appellee William Borchard, Baila Celedonia, Clear
                     153
                1 pg, 39.28 KB     Channel Communications, Inc., Cowan, Liebowitz & Lathman, PC, Nicole Ann Gordon, Dale Head, Midge
                                   Hyman, Instant Live Concerts, LLC, Christopher Jensen, Live Nation, Inc., Nexticketing, Incorporated,
                                   Susan Schick and Steve Simon Brief due date as 06/11/2018, FILED.[2277122] [17-2760] [Entered:
                                   04/11/2018 04:24 PM]
  04/15/2018         158           MOTION, to change venue, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date 04/15/2018
                                   by CM/ECF. [2279488] [17-2760]--[Edited 04/16/2018 by JW] [Entered: 04/15/2018 10:17 PM]
  04/16/2018         159           DEFECTIVE DOCUMENT, motion[158], on behalf of Appellant Amy Rebecca Gurvey, FILED.[2279690]
                2 pg, 17.55 KB     [17-2760]--[Edited 04/16/2018 by JW] [Entered: 04/16/2018 10:39 AM]
  04/16/2018         160           MOTION, to change venue, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date 04/15/2018
                                   by CM/ECF. [2279784] [17-2760]--[Edited 04/17/2018 by KY] [Entered: 04/16/2018 11:28 AM]
  04/16/2018         161           MOTION, to change venue, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date 04/15/2018
                44 pg, 2.15 MB     by CM/ECF. [2279799] [17-2760] [Entered: 04/16/2018 11:33 AM]
  04/17/2018         164           DEFECTIVE DOCUMENT, motion to change venue, [160], on behalf of Appellant Amy Rebecca Gurvey,
                2 pg, 17.3 KB      FILED.[2281093] [17-2760] [Entered: 04/17/2018 12:24 PM]
  04/17/2018         165           CURED DEFECTIVE motion to change venue, [161], on behalf of Appellant Amy Rebecca Gurvey, FILED.
                                   [2281102] [17-2760] [Entered: 04/17/2018 12:28 PM]
  04/19/2018         170           OPPOSITION TO MOTION, [161], on behalf of Appellee Cowan, Liebowitz & Lathman, PC, FILED.
                30 pg, 909.93 KB   Service date 04/19/2018 by CM/ECF. [2283945] [17-2760] [Entered: 04/19/2018 04:17 PM]
  04/24/2018         175           REPLY TO OPPOSITION [170], on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date
                12 pg, 311.17 KB   04/24/2018 by CM/ECF.[2287189][175] [17-2760] [Entered: 04/24/2018 03:31 PM]
  05/29/2018         183           MOTION ORDER, denying Appellant’s motion to enlarge or correct the record, to disqualify Appellees’
                2 pg, 65.48 KB     counsel, to certify questions to the state court, and to transfer this appeal to the Federal Circuit [47], [47],
                                   [81], [161] filed by Appellant Amy Rebecca Gurvey; denying Appellees’ cross-motion for sanctions against
                                   Appellant [96] filed by Appellee Cowan, Liebowitz & Latman, P.C. by RKW, RSP, BDP, FILED. [2312737]
                                   [183] [17-2760] [Entered: 05/29/2018 01:49 PM]
  06/08/2018         184           MOTION, for rehearing en banc, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date
                118 pg, 5.46 MB    06/08/2018 by CM/ECF. [2321603] [17-2760] [Entered: 06/08/2018 04:51 PM]
  06/08/2018         185           SUPPLEMENTARY PAPERS TO WRIT [184], on behalf of Appellant Amy Rebecca Gurvey, FILED.
                                   Service date 06/08/2018 by CM/ECF.[2321620][185] [17-2760] [Entered: 06/08/2018 05:03 PM]
  06/11/2018         187           DEFECTIVE DOCUMENT, Supplementary Papers to Motion, [185], on behalf of Appellant Amy Rebecca
                2 pg, 17.86 KB     Gurvey, FILED.[2321906] [17-2760] [Entered: 06/11/2018 10:40 AM]
  06/11/2018         189           BRIEF, on behalf of Appellee Cowan, Liebowitz & Latman, P.C., Clear Channel Communications, Inc.,
                56 pg, 212.1 KB    Live Nation, Inc., Instant Live Concerts, LLC, Nexticketing, Incorporated, William Borchard, Midge Hyman,
                                   Baila Celedonia, Christopher Jensen, Dale Head, Steve Simon, Nicole Ann Gordon and Susan Schick,
                                   FILED. Service date 06/11/2018 by CM/ECF. [2322360] [17-2760] [Entered: 06/11/2018 03:54 PM]
  06/11/2018         190           SUPPLEMENTAL APPENDIX volume I of III (pp. 1-278), on behalf of Appellee Cowan, Liebowitz &
                289 pg, 30.65 MB   Latman, P.C., William Borchard, Midge Hyman, Baila Celedonia and Christopher Jensen, FILED. Service
                                   date 06/11/2018 by CM/ECF. [2322412] [17-2760]--[Edited 06/12/2018 by KY] [Entered: 06/11/2018 04:15
                                   PM]
  06/11/2018         192           SUPPLEMENTAL APPENDIX volume II of III, on behalf of Appellee Cowan, Liebowitz & Latman, P.C.,
                                   William Borchard, Midge Hyman, Baila Celedonia and Christopher Jensen, FILED. Service date
                                   06/11/2018 by CM/ECF. [2322471] [17-2760]--[Edited 06/12/2018 by KY] [Entered: 06/11/2018 04:41 PM]
  06/11/2018         193           SUPPLEMENTAL APPENDIX volume III of III, on behalf of Appellee Cowan, Liebowitz & Latman, P.C.,
                                   William Borchard, Midge Hyman, Baila Celedonia and Christopher Jensen, FILED. Service date
                                   06/11/2018 by CM/ECF. [2322486] [17-2760]--[Edited 06/12/2018 by KY] [Entered: 06/11/2018 04:46 PM]
  06/12/2018         194           SUPPLEMENTARY PAPERS TO MOTION [184], on behalf of Appellant Amy Rebecca Gurvey, FILED.
                12 pg, 2.45 MB     Service date 06/08/2018 by CM/ECF.[2322608][194] [17-2760] [Entered: 06/12/2018 08:14 AM]
  06/12/2018         195           CURED DEFECTIVE Supplementary Papers to Motion, [194], on behalf of Appellant Amy Rebecca
                                   Gurvey, FILED.[2322803] [17-2760] [Entered: 06/12/2018 10:31 AM]
  06/12/2018         197           DEFECTIVE DOCUMENT, Supplemental Appendix volumes II and III, [193], [192], on behalf of Appellee
                2 pg, 18.12 KB     William Borchard, Baila Celedonia, Clear Channel Communications, Inc., Cowan, Liebowitz & Latman,
                                   P.C., Nicole Ann Gordon, Dale Head, Midge Hyman, Instant Live Concerts, LLC, Christopher Jensen, Live
                                   Nation, Inc., Nexticketing, Incorporated, Susan Schick and Steve Simon, FILED.[2323200] [17-2760]
                                   [Entered: 06/12/2018 01:52 PM]
  06/12/2018         198           SUPPLEMENTAL APPENDIX volume II of III (pp. 279-581), on behalf of Appellee William Borchard, Baila
                                   Celedonia, Cowan, Liebowitz & Latman, P.C., Midge Hyman and Christopher Jensen, FILED. Service date
                314 pg, 20.59 MB
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                                   06/12/2018 by CM/ECF. [2323362] [17-2760]--[Edited 06/14/2018 by KY] [Entered: 06/12/2018 03:30 PM]
  06/12/2018         199           SUPPLEMENTAL APPENDIX volume III of III (pp. 582-808), on behalf of Appellee William Borchard, Baila
                238 pg, 24.21 MB   Celedonia, Cowan, Liebowitz & Latman, P.C., Midge Hyman and Christopher Jensen, FILED. Service date
                                   06/12/2018 by CM/ECF. [2323368] [17-2760]--[Edited 06/14/2018 by KY] [Entered: 06/12/2018 03:32 PM]
  06/14/2018         200           CURED DEFECTIVE Supplemental Appendix volumes II and III, [199], [198], on behalf of Appellee
                                   William Borchard, Baila Celedonia, Clear Channel Communications, Inc., Cowan, Liebowitz & Latman,
                                   P.C., Nicole Ann Gordon, Dale Head, Midge Hyman, Instant Live Concerts, LLC, Christopher Jensen, Live
                                   Nation, Inc., Nexticketing, Incorporated, Susan Schick and Steve Simon, FILED.[2324855] [17-2760]
                                   [Entered: 06/14/2018 09:06 AM]
  06/18/2018         203           OPPOSITION TO MOTION, [184], on behalf of Appellee William Borchard, Baila Celedonia, Cowan,
                35 pg, 1.38 MB     Liebowitz & Latman, P.C., Midge Hyman and Christopher Jensen, FILED. Service date 06/18/2018 by
                                   CM/ECF. [2326988] [17-2760]--[Edited 06/19/2018 by KY] [Entered: 06/18/2018 02:55 PM]
  06/20/2018         206           REPLY TO OPPOSITION [203], on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date
                91 pg, 4.6 MB      06/20/2018 by CM/ECF.[2329051][206] [17-2760] [Entered: 06/20/2018 02:18 PM]
  06/26/2018         209           MOTION ORDER, denying motion for reconsideration en banc [184] filed by Appellant Amy Rebecca
                1 pg, 61.99 KB     Gurvey, FILED. [2332615][209] [17-2760] [Entered: 06/26/2018 11:49 AM]
  06/28/2018         210           MOTION, to file late, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date 06/28/2018 by
                11 pg, 600.32 KB   CM/ECF. [2335406] [17-2760] [Entered: 06/28/2018 11:47 PM]
  06/29/2018         212           OPPOSITION TO MOTION, [210], on behalf of Appellee William Borchard, Baila Celedonia, Cowan,
                2 pg, 96.46 KB     Liebowitz & Latman, P.C., Midge Hyman and Christopher Jensen, FILED. Service date 06/29/2018 by
                                   CM/ECF. [2336232] [17-2760]--[Edited 07/02/2018 by KY] [Entered: 06/29/2018 05:38 PM]
  07/03/2018         215           SUPPLEMENTARY PAPERS TO MOTION [210], on behalf of Appellant Amy Rebecca Gurvey, FILED.
                28 pg, 301.77 KB   Service date 07/03/2018 by CM/ECF.[2337860][215] [17-2760] [Entered: 07/03/2018 12:50 PM]
  07/05/2018         218           MOTION ORDER, granting the motion for an extension of time to file reply brief [210] filed by Appellant
                1 pg, 62.1 KB      Amy Rebecca Gurvey, by JAC, FILED. [2338606][218] [17-2760] [Entered: 07/05/2018 11:24 AM]
  07/05/2018         219           REPLY BRIEF, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date 07/05/2018 by CM/ECF.
                29 pg, 413.54 KB   [2338877] [17-2760] [Entered: 07/05/2018 02:42 PM]
  07/12/2018         222           ORAL ARGUMENT STATEMENT LR 34.1 (a), on behalf of filer Attorney Amy Rebecca Gurvey for
                1 pg, 62.25 KB     Appellant Amy Rebecca Gurvey, FILED. Service date 07/12/2018 by CM/ECF. [2343847] [17-2760]
                                   [Entered: 07/12/2018 01:55 PM]
  07/12/2018         224           ORAL ARGUMENT STATEMENT LR 34.1 (a), on behalf of filer Attorney J. Richard Supple for Appellee
                1 pg, 51.49 KB     William Borchard, Baila Celedonia, Clear Channel Communications, Inc., Cowan, Liebowitz & Latman,
                                   P.C., Nicole Ann Gordon, Dale Head, Midge Hyman, Instant Live Concerts, LLC, Christopher Jensen, Live
                                   Nation, Inc., Nexticketing, Incorporated, Susan Schick and Steve Simon, FILED. Service date 07/12/2018
                                   by CM/ECF. [2344181] [17-2760] [Entered: 07/12/2018 04:46 PM]
  09/10/2018         226           CASE CALENDARING, for the week of 11/27/2018, PROPOSED.[2385559] [17-2760] [Entered:
                                   09/10/2018 02:46 PM]
  10/12/2018         227           CASE CALENDARING, for argument on 11/29/2018, SET.[2408741] [17-2760] [Entered: 10/12/2018
                                   11:21 AM]
  10/18/2018         231           ARGUMENT NOTICE, to attorneys/parties, copy sent to pro se, TRANSMITTED.[2413530] [17-2760]
                2 pg, 17.24 KB     [Entered: 10/18/2018 03:52 PM]
  11/02/2018         232           LETTER, on behalf of Appellant Amy Rebecca Gurvey, in re: U.S. Patent and Trademark Office
                3 pg, 89.48 KB     confirmation RECEIVED. Service date 11/02/2018 by CM/ECF.[2424823] [17-2760]--[Edited 11/02/2018
                                   by KY] [Entered: 11/02/2018 01:08 PM]
  11/06/2018         235           LETTER, on behalf of Appellee William Borchard, Baila Celedonia, Cowan, Liebowitz & Latman, P.C.,
                1 pg, 206.3 KB     Midge Hyman and Christopher Jensen, dated 11/05/2018 in re: response to appellant's letter RECEIVED.
                                   Service date 11/05/2018 by CM/ECF.[2427599] [17-2760]--[Edited 11/07/2018 by KY] [Entered:
                                   11/06/2018 04:19 PM]
  11/09/2018         239           LETTER, on behalf of Appellant Amy Rebecca Gurvey, in re: response to Appellees' letter RECEIVED.
                2 pg, 67.01 KB     Service date 11/09/2018 by CM/ECF.[2431188] [17-2760]--[Edited 11/09/2018 by KY] [Entered:
                                   11/09/2018 04:45 PM]
  11/25/2018         243           LETTER, on behalf of Appellant Amy Rebecca Gurvey, in re: response to Appellees' letter RECEIVED.
                71 pg, 1.87 MB     Service date 11/25/2018 by CM/ECF.[2440568] [17-2760]--[Edited 11/26/2018 by KY] [Entered:
                                   11/25/2018 07:08 PM]
  11/27/2018         246           LETTER, on behalf of Appellee William Borchard, Baila Celedonia, Cowan, Liebowitz & Latman, P.C.,
                2 pg, 79.6 KB      Christopher Jensen and Midge Hyman, in re: response to Appellant's letter RECEIVED. Service date
                                                                                                                     EXHIBIT 25
https://ecf.ca2.uscourts.gov/n/beam/servlet/TransportRoom                                                                                    9/13
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                                                                                  Docket
                                                               ID   #:752
                                   11/27/2018 by CM/ECF.[2442926] [17-2760]--[Edited 11/28/2018 by KY] [Entered: 11/27/2018 06:02 PM]
  11/29/2018         252           CASE, before ALK, DAL, SLC, HEARD.[2444610] [17-2760] [Entered: 11/29/2018 11:51 AM]

  12/03/2018         253           ORAL ARGUMENT STATEMENT LR 34.1 (a), on behalf of filer Attorney Amy Rebecca Gurvey for
                                   Appellant Amy Rebecca Gurvey, FILED. Service date 12/02/2018 by CM/ECF. [2446482] [17-2760]
                                   [Entered: 12/03/2018 01:35 AM]
  12/03/2018         254           DEFECTIVE DOCUMENT, Motion to file post argument letter brief, [253], on behalf of Appellant Amy
                2 pg, 17.49 KB     Rebecca Gurvey, FILED.[2446931] [17-2760] [Entered: 12/03/2018 12:39 PM]
  12/03/2018         255           MOTION, to vacate judgment, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date
                                   12/03/2018 by CM/ECF. [2447648] [17-2760] [Entered: 12/03/2018 10:42 PM]
  12/03/2018         256           SUPPLEMENTARY PAPERS TO MOTION [255], on behalf of Appellant Amy Rebecca Gurvey, FILED.
                                   Service date 12/03/2018 by CM/ECF.[2447649][256] [17-2760] [Entered: 12/03/2018 11:00 PM]
  12/04/2018         257           SUMMARY ORDER AND JUDGMENT, affirming the judgment of the district court, by ALK, DAL, SLC,
                7 pg, 100.65 KB    FILED.[2447726] [17-2760] [Entered: 12/04/2018 09:13 AM]
  12/04/2018         260           NEW CASE MANAGER, Yenni Liu, ASSIGNED.[2447751] [17-2760] [Entered: 12/04/2018 09:22 AM]
                1 pg, 9.17 KB

  12/04/2018         263           DEFECTIVE DOCUMENT, Motion to vacate judgment, [255], [256], on behalf of Appellant Amy Rebecca
                1 pg, 16.58 KB     Gurvey, FILED.[2447923] [17-2760] [Entered: 12/04/2018 10:53 AM]
  12/04/2018         265           SUPPLEMENTARY PAPERS TO MOTION [255], on behalf of Appellant Amy Rebecca Gurvey, FILED.
                                   Service date 12/03/2018 by CM/ECF.[2448730][265] [17-2760] [Entered: 12/04/2018 06:37 PM]
  12/05/2018         266           PETITION FOR REHEARING/REHEARING EN BANC, on behalf of Appellant Amy Rebecca Gurvey,
                                   FILED. Service date 12/05/2018 by CM/ECF.[2448839] [17-2760] [Entered: 12/05/2018 11:46 AM]
  12/06/2018         267           DEFECTIVE DOCUMENT, Petition for Rehearing En Banc, [266], [265], on behalf of Appellant Amy
                2 pg, 23.3 KB      Rebecca Gurvey, FILED.[2449001] [17-2760] [Entered: 12/06/2018 08:54 AM]
  12/14/2018         268           PETITION FOR REHEARING/REHEARING EN BANC, on behalf of Appellant Amy Rebecca Gurvey,
                19 pg, 338.64 KB   FILED. Service date 12/14/2018 by CM/ECF.[2455805] [17-2760] [Entered: 12/14/2018 02:36 PM]
  12/14/2018         269           CURED DEFECTIVE Petition for Rehearing/Rehearing En Banc [268], [266], on behalf of Appellant Amy
                                   Rebecca Gurvey, FILED.[2455811] [17-2760] [Entered: 12/14/2018 02:39 PM]
  12/17/2018         271           ITEMIZED BILL OF COSTS, on behalf of Appellee William Borchard, Baila Celedonia, Cowan, Liebowitz
                                   & Latman, P.C., Midge Hyman and Christopher Jensen, FILED. Service date 12/17/2018 by CM/ECF.
                                   [2456994] [17-2760] [Entered: 12/17/2018 04:43 PM]
  12/19/2018         272           DEFECTIVE DOCUMENT, itemized bill of cost, [271], on behalf of Appellee William Borchard, Baila
                2 pg, 17.6 KB      Celedonia, Cowan, Liebowitz & Latman, P.C., Midge Hyman and Christopher Jensen, FILED.[2459345]
                                   [17-2760] [Entered: 12/19/2018 04:04 PM]
  12/19/2018         273           ITEMIZED BILL OF COSTS, on behalf of Appellee William Borchard, Baila Celedonia, Cowan, Liebowitz
                5 pg, 1.07 MB      & Latman, P.C., Midge Hyman and Christopher Jensen, FILED. Service date 12/19/2018 by CM/ECF.
                                   [2459438] [17-2760] [Entered: 12/19/2018 04:44 PM]
  12/19/2018         274           CURED DEFECTIVE ITEMIZED BILL OF COSTS [273], on behalf of Appellee William Borchard, Baila
                                   Celedonia, Cowan, Liebowitz & Latman, P.C., Midge Hyman and Christopher Jensen, FILED.[2459504]
                                   [17-2760] [Entered: 12/19/2018 05:11 PM]
  12/21/2018         276           PAPERS, Appellant's updated brief cover, per the caption amendment, RECEIVED.[2464310] [17-2760]
                                   [Entered: 12/28/2018 11:35 AM]
  01/04/2019         278           OPPOSITION TO ITEMIZED BILL OF COSTS, [273], on behalf of Appellant Amy Rebecca Gurvey,
                17 pg, 549.27 KB   FILED. Service date 01/04/2019 by CM/ECF. [2468097] [17-2760] [Entered: 01/04/2019 04:25 PM]
  01/05/2019         279           SUPPLEMENTARY PAPERS TO ITEMIZED BILL OF COSTS [278], on behalf of Appellant Amy Rebecca
                                   Gurvey, FILED. Service date 01/05/2019 by CM/ECF.[2468270][279] [17-2760] [Entered: 01/05/2019
                                   11:52 AM]
  01/07/2019         280           DEFECTIVE DOCUMENT, Opposition to Itemized Bill of Costs, [278], [279], on behalf of Appellant Amy
                2 pg, 17.91 KB     Rebecca Gurvey, FILED.[2468347] [17-2760] [Entered: 01/07/2019 09:06 AM]
  01/09/2019         281           MOTION, to extend time, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date 01/09/2019
                                   by CM/ECF. [2471554] [17-2760] [Entered: 01/09/2019 04:44 PM]
  01/09/2019         282           DEFECTIVE DOCUMENT, Motion to extend time, [281], on behalf of Appellant Amy Rebecca Gurvey,
                2 pg, 17.55 KB     FILED.[2471561] [17-2760] [Entered: 01/09/2019 04:49 PM]
  01/09/2019         283           SUPPLEMENTARY PAPERS TO MOTION [281], on behalf of Appellant Amy Rebecca Gurvey, FILED.
                                   Service date 01/09/2019 by CM/ECF.[2471589][283] [17-2760] [Entered: 01/09/2019 05:22 PM]
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  01/10/2019
                                                           ID  #:753
                                  DEFECTIVE DOCUMENT, Motion to extend time, [283], on behalf of Appellant Amy Rebecca Gurvey,
                     284
                2 pg, 17.91 KB    FILED.[2471656] [17-2760] [Entered: 01/10/2019 07:53 AM]
  01/10/2019         285          MOTION, to extend time, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date 01/09/2019
                37 pg, 1.48 MB    by CM/ECF. [2471657] [17-2760] [Entered: 01/10/2019 07:58 AM]
  01/10/2019         286          CURED DEFECTIVE Motion to extend time [285], [283], [281], [279], [278], on behalf of Appellant Amy
                                  Rebecca Gurvey, FILED.[2471660] [17-2760] [Entered: 01/10/2019 08:02 AM]
  01/18/2019         289          ORDER, petition for panel rehearing, or, in the alternative, for rehearing en banc, denied, FILED.
                1 pg, 17.96 KB    [2478203] [17-2760] [Entered: 01/18/2019 11:54 AM]
  01/22/2019         291          MOTION ORDER, granting motion to accept late opposition to the bill of costs [285] filed by Appellant
                1 pg, 60.35 KB    Amy Rebecca Gurvey, by SLC, FILED. [2479640][291] [17-2760] [Entered: 01/22/2019 04:09 PM]
  01/25/2019         293          JUDGMENT MANDATE, ISSUED.[2482212] [17-2760] [Entered: 01/25/2019 09:56 AM]
                5 pg, 540.4 KB

  01/27/2019         294          SUPPLEMENTARY PAPERS TO OPPOSITION [278], on behalf of Appellant Amy Rebecca Gurvey,
                                  FILED. Service date 01/26/2019 by CM/ECF.[2482931][294] [17-2760]--[Edited 01/28/2019 by YL]
                                  [Entered: 01/27/2019 04:19 PM]
  01/28/2019         296          DEFECTIVE DOCUMENT, Supplementary papers to opposition, [294], on behalf of Appellant Amy
                2 pg, 16.88 KB    Rebecca Gurvey, FILED.[2483115] [17-2760] [Entered: 01/28/2019 10:06 AM]
  02/02/2019         298          MOTION, to reinstate appeal, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date
                                  02/01/2019 by CM/ECF. [2487930] [17-2760] [Entered: 02/02/2019 01:30 AM]
  02/04/2019         299          DEFECTIVE DOCUMENT, Motion to reinstate appeal, [298], on behalf of Appellant Amy Rebecca Gurvey,
                2 pg, 18.07 KB    FILED.[2487953] [17-2760] [Entered: 02/04/2019 08:18 AM]
  02/05/2019         300          MOTION, to reinstate appeal, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date
                9 pg, 1.97 MB     02/04/2019 by CM/ECF. [2489112] [17-2760] [Entered: 02/05/2019 09:17 AM]
  02/05/2019         301          MOTION, to recall mandate, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date
                9 pg, 1.95 MB     02/05/2019 by CM/ECF. [2489438] [17-2760] [Entered: 02/05/2019 11:35 AM]
  02/05/2019         303          CURED DEFECTIVE MOTION, to recall mandate [301], MOTION, to reinstate appeal [300], [298], on
                                  behalf of Appellant Amy Rebecca Gurvey, FILED.[2489451] [17-2760] [Entered: 02/05/2019 11:41 AM]
  02/11/2019         304          OPPOSITION TO MOTION, [301], on behalf of Appellee William Borchard, Baila Celedonia, Cowan,
                7 pg, 354.28 KB   Liebowitz & Latman, P.C., Midge Hyman and Christopher Jensen, FILED. Service date 02/11/2019 by
                                  CM/ECF. [2494053] [17-2760] [Entered: 02/11/2019 03:15 PM]
  02/20/2019         307          REPLY TO OPPOSITION [304], on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date
                3 pg, 162.17 KB   02/20/2019 by CM/ECF.[2500010][307] [17-2760] [Entered: 02/20/2019 05:24 AM]
  03/11/2019         312          MOTION ORDER, denying motion to recall mandate [301] and motion to reinstate appeal [300] filed by
                1 pg, 61.96 KB    Appellant Amy Rebecca Gurvey, by ALK, DAL, DLC, FILED. [2514344][312] [17-2760] [Entered:
                                  03/11/2019 09:03 AM]
  03/11/2019         313          STATEMENT OF COSTS, on behalf of Appellees William Borchard, Baila Celedonia, Cowan, Liebowitz &
                1 pg, 61.95 KB    Latman, P.C., Midge Hyman and Christopher Jensen, FILED.[2514392] [17-2760] [Entered: 03/11/2019
                                  09:25 AM]
  03/11/2019         314          CERTIFIED ORDER, dated 03/11/2019, to SDNY, ISSUED.[2514393] [17-2760] [Entered: 03/11/2019
                1 pg, 562.83 KB   09:26 AM]
  04/24/2019         315          U.S. SUPREME COURT NOTICE of writ of certiorari filing, dated 04/22/2019, U.S. Supreme Court docket
                1 pg, 56.24 KB    # 18-8930, RECEIVED.[2546748] [17-2760] [Entered: 04/24/2019 08:59 AM]
  06/24/2019         316          U.S. SUPREME COURT LETTER, dated 06/24/2019, Petitioner is allowed until 7/15/2019 to pay the
                1 pg, 82.22 KB    docketing fee, RECEIVED.[2593576] [17-2760] [Entered: 06/24/2019 04:22 PM]
  10/07/2019         317          U.S. SUPREME COURT NOTICE, dated 10/07/2019, U.S. Supreme Court docket # 18-8930, stating the
                1 pg, 65.7 KB     petition for writ of certiorari is denied, RECEIVED.[2674370] [17-2760] [Entered: 10/07/2019 03:53 PM]
  11/26/2019         319          U.S. SUPREME COURT LETTER, dated 11/25/2019, denying the petition for rehearing, RECEIVED.
                1 pg, 65.8 KB     [2716011] [17-2760] [Entered: 11/26/2019 09:26 AM]
  01/19/2020         320          MOTION, to vacate judgment, on behalf of Appellant Amy Rebecca Gurvey, FILED. Service date
                239 pg, 7.32 MB   01/19/2020 by CM/ECF. [2756109] [17-2760] [Entered: 01/19/2020 10:27 PM]
  01/19/2020         321          SUPPLEMENTARY PAPERS TO MOTION [320], on behalf of Appellant Amy Rebecca Gurvey, FILED.
                153 pg, 8.33 MB   Service date 01/19/2020 by CM/ECF.[2756110][321] [17-2760] [Entered: 01/19/2020 10:53 PM]
  01/21/2020         322          PAPERS [320][321] received in a closed case, RETURNED.[2756348] [17-2760] [Entered: 01/21/2020
                1 pg, 9.59 KB     10:43 AM]
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  01/24/2020
                                                               ID  #:754
                                  LETTER, dated 01/22/2020, on behalf of Appellant Amy Rebecca Gurvey, requesting hearing on motion,
                     324
                6 pg, 468.32 KB   RECEIVED. Service date 01/24/2020 by US mail.[2761494] [17-2760] [Entered: 01/27/2020 09:53 AM]
  01/27/2020         325          LETTER [324] received in a closed case, RETURNED.[2761499] [17-2760] [Entered: 01/27/2020 09:55
                7 pg, 477.93 KB   AM]
  01/28/2020         326          LETTER, dated 01/25/2020, on behalf of Appellant Amy Rebecca Gurvey, requesting hearing on motion,
                8 pg, 638.14 KB   RECEIVED. Service date 01/25/2020 by US mail.[2763113] [17-2760] [Entered: 01/28/2020 01:00 PM]
  01/28/2020         327          LETTER [326] received in a closed case, RETURNED.[2763116] [17-2760] [Entered: 01/28/2020 01:01
                9 pg, 647.75 KB   PM]




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                               EXHIBIT 26




                               EXHIBIT 26


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In the Matter of Amy R. Weissbrod Gurvey,..., 2017 WL 5492078...
2017 N.Y. Slip Op. 92255(U)



                                                              Gische Jeffrey K. Oing Anil C. Singh,Justices
2017 WL 5492078 (N.Y.A.D. 1 Dept.), 2017 N.Y. Slip
                Op. 92255(U)                                  November 16, 2017

                                                              An appeal having been taken from the order of the
   This motion is uncorrected and is not subject to           Supreme Court, New York County, entered on or about
         publication in the Official Reports.                 January 18, 2017,And petitioner-appellant having moved,
                                                              inter alia, for an order transferring the aforesaid appeal
                                                              from this Court to the Appellate Division, Third Judicial
    In the Matter of Amy R. Weissbrod Gurvey,                 Department, for disposition, Now, upon reading and filing
  Petitioner-Appellant, v State of New York, et al.,          the papers with respect to the motion, and due
            Respondents-Respondents.                          deliberation having been had thereon,It is ordered that the
                                                              motion is denied. ENTERED: November 16, 2017

                                                              _____________________ CLERK

                                                              M-4247
              MOTION DECISION
      Supreme Court, Appellate Division, First
                                                              Index No. 100163/13
             Department, New York
                     M-4247
               November 16, 2017
                                                              Copr. (C) 2023, Secretary of State, State of New York

-Hon. Richard T. Andrias,Justice Presiding, Judith J.
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                               EXHIBIT 27




                               EXHIBIT 27


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                     Amy R. Weissbrod Gurvey
                                             ID #:759                                                 Page 1 of2
In the lvlatter of



                                    In the Matter of Amy R' Weissbrod Gurvey
                                                  Motion No: M-6697

                                     Slip OpinionNo: 2018 NYSlipOp 61578(U)

                                             Decided on January 23,2018

                               Appellate l)ivision, First Department, Motion Decision

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                                                       Law 6 431

                     T'his motion is uncorreotecl and is not sr"rlrjcct to publication in the Official
                                                        Repolts.




 January 23,2018

 In the Matter of Amy R. Weissbrod

 Gurvey,

 Petitioner,

 For a Judgment Pursuant to Articie 78

  of the Civil Practice Law and Rules,in the Nature of a Writ of Mandamus,O'P. No. 132117



  Hon. Rolando T, Acosta, Presiding Justice,

  Appellate Division, First Department,

  Respondent.

  This proceeding, brought pursuant to CPLR Article 78 in the nature of mandamus, seeks to compel
  the piesidi'g Jistice oT thir Courl to order the Chief Attorney of the Attorney Grievance Committee
  to produce und turn over to petitioner cefiain files,Now, upon this Cotrrt's own motion, it is Ordered
  that the proceeding is transferred to the Appellate Division, Second Department, pursuant to
                                                                                                   New
  york Constitution, Article VI, $ 4(I), for hearing and cletermination, and it is f'ufiher, Ordered that all
                                                                                                      of the
  further proceedings in conneciion wlttr the proceeding shall be conducted pursuant to the rules
  Appellate Division, Second Department. ENTEi{ED: January 23,2018

                                   CL]]RK
  present - Hon, David Friedman,Justice Presiding, John W. Sweeny, Jr. Dianne T' Renwick Rosalyn
  I-I. Richter Sallie Manzanet-Danieis,Justices



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                                            ID #:760                                 Page2 of2
In the Matter of Amy R. Weissbrod Gurvey


 M-6697




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                                                                                  EXHIBIT 27
                                                                              Page 362 of 808
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                                  ID #:761



                               EXHIBIT 28




                               EXHIBIT 28


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Matter  Amy R. Gurvey, a suspendedDocument
                                   attorney 22-4                Filed 09/08/23   Page 56 of 132Page 1 of 1
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                                                   ID #:762




                            Matter of Amy R. Gurvey, a suspended attorney
                                              Motion No: M-4853

                                Slip Opinion No: 2018 NY Slip Op 64119(U)

                                        Decided on February 15, 2018

                          Appellate Division, First Department, Motion Decision

                Published by Netv Yqrklglale Law R€pA4inglBUqaU pursuant to Judiciary
                                                   Law $ 431

                This motion is uncorected and is not subject to publication in the Official
                                                    Reports.




 February 15,2018

 In the Matter of Amy R. Gurvey, a suspended attorney:

 Motion is denied. No further filings accepted from petitioner without prior leave of this Court' No
 opinion. All concur.

 B efore : Freidman, J.P,, Renwick, Richte t, Manzanet-Daniels,      Tom, JJ'

 Motion No. M-4853




                                                                                            EXHIBIT  28
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                                                      In the Matter of Amy R. Weissbrod Gurvey
                                                                                    Motion No: M-37

                                                        Slip Opinion No: 2018 NYSlipOp 6a778(U)

                                                                        Decided on February 20,2018

                                             Appellate Division, First Department, Motion Decision

                     Published by New York State Law Replrting Bureau pursuant to Judiciary Law $ 431

                        Tliis motion is uncorrected and is not subject to publication in the Official Reports




 February 22,2078

  In the Matter of Amy R. Weissbrod

  Gurvey,

  Petitioner-App ellant,

  v State of NX City of NY, First Dept. Disciplinary Cornmittee, Chief Counsel

  Jorge Dopico, Thomas Cahill, Alan

  Friedberg, Robert Tembeckj ian, Jatnes

  Shed, Naomi Goldstein, Sherry Cohen,

  Rayrnond Vallejo, Orlando Reyes, Hearing

  Panel IV, Lawrence Marks (Chief Counsel

  of the NYS Office of Court Administration),

  Richard Supple, Hal Lieberman and Hinshaw &

  Culbertson, LLP,

  De fendants-Respondents.

  plaintiff-appellant having moved for reconsideration of, the decision and order of this Court, entered on
  Novembei 10, zot7 ywt-+z+11(M-6696), And, defendants-respondents Hinshaw & Culbertson, LLP, Richard
  Supple and Hal Lieberrnan having moved for a filing injunction against plaintiff-appellant (M-69), And,
  deiendants-respondents having moved to dismiss plaintiffs appeal from an order of the Supreme Court, New
  york County, entered on o. ubo,rt August 29,2076, for failure to timely perfect (M-37),Now, upon reading and
  filing the papers with respect to the rnotions, and due deliberation having been had theteon, It is ordered that the
  motion foi riconsideration of this Court's order entered Novemb er 16,2017 (M-6696) and the cross motion for a
  filing injunction against plaintiff-appellant (M-69) are denied. The motion to dismiss the appeal taken from the
  order entered on or aboui August ig, zol,e is granted and the appeal is dismissed. Sua sponte the appeal taken
  from an order of the same Court entered on January 18,2017 is dismissed for failure to prosecute (M-37)'
  ENTERED: February 20, 2018
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 The following order was entered and filed on February 20,2018:

 PRE,SENT: Hon. Judith J. Gische, Justice Presiding, Richard T. Andrias Jeffrey K. Oing Anil C. Singh, Justices

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 M-69

 M-6696

 Index No. 100163115




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